                                 Case 23-03508-CL13         Filed 11/14/23       Entered 11/14/23 11:39:51           Doc 8-3      Pg. 1 of
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                                  1   KENT L. SHARP, ESQ.: SBN179468
                                      Email: kent@lajollalawgroup.com
                                  2   ERIC S. CANFIELD, ESQ.: SBN300214
                                      Email: eric@lajollalawgroup.com
                                  3   LA JOLLA LAW GROUP
                                      9404 Genesee Ave., Ste. 300
                                  4   La Jolla, CA 92037
                                      Telephone No.: (858) 202-1321
                                  5   Facsimile No.: (858) 202-1308
                                      Attorneys for Movant,
                                  6   JEFFREY S. CAMERON
                                  7

                                  8                                UNITED STATES BANKRUPTCY COURT

                                  9                                SOUTHERN DISTRICT OF CALIFORNIA

                                 10   In Re                                                    CASE NO. 23-03508-CL13

                                 11   KENNAN EDWARD KAEDER,                                    RS No. KLS-1
9404 Genesee Avenue, Suite 300




                                 12                            Debtor.                         DECLARATION OF KENT L. SHARP,
                                                                                               ESQ. IN SUPPORT OF MOVANT
      La Jolla Law Group

      La Jolla, CA 92037




                                 13                                                            JEFFREY S. CAMERON’S MOTION FOR
       T: 858.202.1321




                                      JEFFREY S. CAMERON,                                      RELIEF FROM AUTOMATIC STAY
                                 14                                                            (UNLAWFUL DETAINER)
                                                               Moving Party.
                                 15

                                 16   KENNAN EDWARD KAEDER; and
                                      MICHAEL KOCH, Trustee,
                                 17
                                                               Respondents.
                                 18

                                 19

                                 20             I, Kent L. Sharp, Esq., hereby declare and state as follows:
                                 21             1.     I am an attorney duly licensed to practice law before all Courts of the State of
                                 22   California and am a partner in the law firm of La Jolla Law Group, attorneys of record for
                                 23   MOVANT JEFFREY S. CAMERON (“MOVANT”). I have personal knowledge of the facts
                                 24   stated herein, except those facts stated upon information and belief, and if called to testify, would
                                 25   and could competently testify thereto. This Declaration is being submitted in support of
                                 26   MOVANT’S Motion for Relief From Automatic Stay (Unlawful Detainer) in the above-entitled
                                 27   matter.
                                 28   ////
                                                                                           1
                                        Declaration of Kent L. Sharp, Esq. ISO Movant’s Motion for Relief From Automatic Stay (Unlawful Detainer)
                                 Case 23-03508-CL13         Filed 11/14/23       Entered 11/14/23 11:39:51           Doc 8-3      Pg. 2 of
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                                  1           2.      MOVANT retained my office in late January 2023 to assist in the eviction

                                  2   attempts against Debtor KENNAN E. KAEDER (“MOVANT”) from MOVANT’S subject real

                                  3   property located at 645 Front Street, Unit 707, in downtown San Diego (the “Premises”). On

                                  4   March 1, 2023, I caused DEBTOR to be served with a 3 Day Notice to Perform Covenant (Cure)

                                  5   or Quit. Shortly thereafter on March 10, 2023, I caused DEBTOR to be served with a 3 Day

                                  6   Notice to Quit. Despite these Notices, DEBTOR still failed to vacate the MOVANT’S Premises.

                                  7           3.      My office filed an Unlawful Detainer Complaint on April 14, 2023 in San Diego

                                  8   Superior Court, Case No. 37-2023-00015554-CL-UD-CTL (the “State Court Action”), on behalf

                                  9   of the MOVANT (see Exhibit “A” attached hereto, a true and correct copy of the Complaint in

                                 10   the State Court Action). Soon thereafter, DEBTOR began to use his extensive litigation

                                 11   experience to delay my office’s ability to evict him by filing an unmeritorious Motion to Quash
9404 Genesee Avenue, Suite 300




                                 12   Summons which the Court denied; a sham Demurrer to the Unlawful Detainer Complaint which
      La Jolla Law Group

      La Jolla, CA 92037




                                 13   the Court overruled; two untimely Motions to Compel further responses to his written discovery
       T: 858.202.1321




                                 14   at the eleventh hour before Trial Call to delay the Trial, which the Court denied; and finally, as a

                                 15   final effort to delay the proceedings, DEBTOR filed an Ex Parte Application to Continue the

                                 16   Trial which the Court also denied.

                                 17           4.      Trial proceeded on September 13 and 14, 2023 in Department 1604 before

                                 18   Honorable Michael D. Washington presiding, sitting without a jury. The Court found in favor of

                                 19   MOVANT and against DEBTOR on the Unlawful Detainer Complaint; that MOVANT is entitled

                                 20   to immediate possession of the Premises; that the Lease for the Premises and Lease Renewal

                                 21   Agreement thereto are forfeited by DEBTOR; and that MOVANT is the prevailing party and is

                                 22   entitled to recover attorneys’ fees and costs of suit as the Court deems appropriate. At the

                                 23   conclusion of the Trial, DEBTOR requested a Statement of Decision.

                                 24           5.      My office served the [Proposed] Judgment After Trial on September 15, 2023 (see

                                 25   Exhibit “B” attached hereto, a true and correct copy of the [Proposed] Judgment). On September

                                 26   21, 2023, DEBTOR filed and served an Amended Request for Statement of Decision with 27

                                 27   separate issues requested. The Court issued its Proposed Statement of Decision and Proposed

                                 28   Judgment After Trial on October 17, 2023 (see Exhibit “C” attached hereto, a true and correct
                                                                                           2
                                        Declaration of Kent L. Sharp, Esq. ISO Movant’s Motion for Relief From Automatic Stay (Unlawful Detainer)
                                 Case 23-03508-CL13         Filed 11/14/23       Entered 11/14/23 11:39:51           Doc 8-3      Pg. 3 of
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                                  1   copy of the Court’s said Proposed Statement of Decision and Proposed Judgment After Trial).

                                  2   On November 1, 2023, DEBTOR filed a Notice of Intent to File Objections to Statement of

                                  3   Decision and Proposed Judgment and to File Motion for New Trial. On November 6, 2023,

                                  4   DEBTOR filed his 14 pages of Objections to the Proposed Statement of Decision and Proposed

                                  5   Judgment After Trial. On November 7, 2023, DEBTOR filed his Chapter 13 Bankruptcy Petition

                                  6   staying the State Court Action and associated entry of the Judgment for Possession against him.

                                  7   DEBTOR’S Chapter 13 Petition was bare bones and he failed to file the following documents:

                                  8   Schedules A/B-J; Statement of Financial Affairs; Summary of Assets and Liabilities; Chapter 13

                                  9   Plan; Chapter 13 Statement of Current Monthly Income; and Certificate of Credit Counseling.

                                 10           6.      MOVANT will be extremely prejudiced if this Court does not lift the stay of the

                                 11   State Court Action and allow the Judgment for eviction from MOVANT’S Premises against the
9404 Genesee Avenue, Suite 300




                                 12   DEBTOR to be entered. DEBTOR has been a holdover tenant of MOVANT’S Premises for over
      La Jolla Law Group

      La Jolla, CA 92037




                                 13   nine months and refuses to vacate the Premises without being removed via a Writ of Execution,
       T: 858.202.1321




                                 14   which can only be obtained once the Judgment is entered against DEBTOR in the State Court

                                 15   Action. DEBTOR continues to violate the Lease and the HOA’S rules causing damage to the

                                 16   Premises and to MOVANT, using every card in his deck to prevent MOVANT from evicting him.

                                 17           I declare under penalty of perjury under the laws of the State of California that the

                                 18   foregoing is true and correct to the best of my knowledge. Executed this 14th day of November

                                 19   2023, at La Jolla, California.

                                 20

                                 21                                                              _________________________
                                                                                                 Kent L. Sharp, Esq.
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                                        Declaration of Kent L. Sharp, Esq. ISO Movant’s Motion for Relief From Automatic Stay (Unlawful Detainer)
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              EXHIBIT “A”
                  Case 23-03508-CL13                                               Filed 11/14/23                                Entered 11/14/23 11:39:51                                                       Doc 8-3                      Pg. 5 of
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        Case 23-03508-CL13                     Filed 11/14/23      Entered 11/14/23 11:39:51            Doc 8-3    Pg. 9 of
                                                                    45                                                            MC-025
                                                                                         CASE NUMBER:
     SHORT TITLE: Jeffrey S. Cameron v. Kennan E. Kaeder



                                                       ATTACHMENT (Number): 10c                                 Page 1 of 1
 1                                   (This Attachment may be used with any Judicial Council form.)         (Add pages as required)

 2                      Defendant Kennan E. Kaeder was served with a 3-Day Notice to Perform Covenant (Cure) or Quit on

 3      March 2, 2023. Service was effectuated by posting said Notice in a conspicuous place on the real property more

 4      commonly known as 645 Front Street, Unit 707, San Diego, California 92101 and thereafter by mailing a copy of

 5      said Notice by first class mail, postage pre-paid, to 645 Front Street, Unit 707, San Diego, California 92101 on

 6      March 3, 2023. (See the 3-Day Notice to Perform Covenant (Cure) or Quit attached hereto as Exhibit “2” and the

 7      Proof of Service for said Notice dated March 3, 2023 attached hereto as Exhibit “3.”)

 8                      Subsequently, Defendant Kennan E. Kaeder was served with a 3-Day Notice to Quit on March 14, 2023.

 9      Service was effectuated by posting said Notice in a conspicuous place on the real property more commonly known

10      as 645 Front Street, Unit 707, San Diego, California 92101 and thereafter by mailing a copy of said Notice by first

11      class mail, postage pre-paid, to 645 Front Street, Unit 707, San Diego, California 92101 on March 24, 2023. (See

12      the 3-Day Notice to Quit attached hereto as Exhibit “2” and the Proof of Service for said Notice dated March 24,

13      2023 attached hereto as Exhibit “3.”)

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27the item that this Attachment concerns is made under penalty of perjury, all statements in this Attachment are made under penalty
(If
of perjury.)

  Form Approved for Optional Use                                   ATTACHMENT                                             www.courtinfo.ca.gov
    Judicial Council of California
  MC-025 [Rev. January 1, 2007]                               to Judicial Council Form                                American LegalNet, Inc.
                                                                                                                       EXHIBIT A - 5/27
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                                                                                         CASE NUMBER:
     SHORT TITLE: Jeffrey S. Cameron v. Kennan E. Kaeder



                                                       ATTACHMENT (Number): 17                                    Page 1 of 3
 1                                   (This Attachment may be used with any Judicial Council form.)         (Add pages as required)

 2      1) Tenant has failed to maintain all mechanical and plumbing fixtures including, but not limited to, the HVAC system

 3      which has been damaged as a result of Tenant’s smoking and smoke discharge upon the premises. Tenant failed

 4      to timely notify the Landlord of the HVAC damage and plumbing leaks at the premises, and Tenant’s continual use

 5      of the washing machine, which was leaking water from the wall outlet, resulted in significant and extensive water

 6      damage to the hardwood floors.

 7

 8                      Section 11 of the Lease Agreement states, as follows:

 9

10      “11. MAINTENANCE USE AND REPORTING:

11      A. Tenant shall properly use, operate and safeguard Premises, including, if applicable, any landscaping, furniture,

12      furnishings and appliances, and all mechanical, electrical, gas and plumbing fixtures, carbon monoxide devices and

13      smoke alarms, and keep them and the Premises clean, sanitary and well ventilated. Tenant shall be responsible for

14      checking and maintaining all carbon monoxide detectors and any additional phone lines beyond the one line and

15      jack that Landlord shall provide and maintain. Tenant shall immediately notify Landlord, in writing, of any problem,

16      malfunction or damage with any item including carbon monoxide devices and smoke alarms on the property.

17      Tenant shall be charged for all damage to Premises as a result of failure to report a problem in a timely manner.

18      Tenant shall be charged for repair of drain blockages or stoppages, unless caused by defective plumbing parts or

19      tree roots invading sewer lines.”

20

21                      Tenant’s acts and omissions, as described above, are a violation of Section 11 of the Lease Agreement.

22

23      2) Tenant maintains a dog at the premises in violation of the lease.

24

25                      Section 13 of the Lease Agreement states, as follows:

26      ////

27the item that this Attachment concerns is made under penalty of perjury, all statements in this Attachment are made under penalty
(If
of perjury.)

  Form Approved for Optional Use                                   ATTACHMENT                                               www.courtinfo.ca.gov
    Judicial Council of California
  MC-025 [Rev. January 1, 2007]                               to Judicial Council Form                                  American LegalNet, Inc.
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                                                                                         CASE NUMBER:
     SHORT TITLE: Jeffrey S. Cameron v. Kennan E. Kaeder



                                                       ATTACHMENT (Number): 17                                    Page 2 of 3
 1                                   (This Attachment may be used with any Judicial Council form.)         (Add pages as required)

 2      “13. PETS: Unless otherwise provided in California Civil Code §54.2, no animal or pet shall be kept on or about the

 3      Premises without Landlord’s prior written consent.”

 4

 5                      Tenant has maintained a dog at the premises and that is a violation of Section 13 of the Lease

 6      Agreement.

 7

 8      3) Tenant repeatedly and continuously smokes and discharges other air-born particulate matter in the premises and

 9      into the common area of the homeowners association. Tenant has been given multiple notices to cease such

10      activity and Tenant refuses to comply.

11

12                      Section 14 of the Lease Agreement states, as follows:

13

14      “14. NO SMOKING: No smoking of any substance is allowed in the Premises or common areas. If smoking does

15      occur on the Premises or common areas, (i) Tenant is responsible for all damage caused by smoking including, but

16      not limited to stains, burns, odors and removal of debris; (ii) Tenant is in breach of this Agreement; (iii) Tenant,

17      guests, and all others may be required to leave the Premises; and (iv) Tenant acknowledges that in order to remove

18      odor caused by smoking, Landlord may been to replace carpet and drapes and paint the entire premises regardless

19      of when items were last cleaned, replaced, or repainted. Such actions and other necessary steps will impact the

20      return of any security deposit. The Premises or common area may be subject to a local non-smoking ordinance.”

21

22                    Tenant’s smoking of nicotine products, purported burning of sage, and any and all other discharge of other

23      air-born particulate matter in the premises and into the common area of the homeowners association is a violation

24      of the Lease Agreement.

25      ////

26      ////

27the item that this Attachment concerns is made under penalty of perjury, all statements in this Attachment are made under penalty
(If
of perjury.)

  Form Approved for Optional Use                                   ATTACHMENT                                               www.courtinfo.ca.gov
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                                                                                         CASE NUMBER:
     SHORT TITLE: Jeffrey S. Cameron v. Kennan E. Kaeder



                                                       ATTACHMENT (Number): 17                                    Page 3 of 3
 1                                   (This Attachment may be used with any Judicial Council form.)         (Add pages as required)

 2      4) Tenant has violated and is continually and repeatedly violating the homeowners association covenants,

 3      conditions and restrictions and/or bylaws, and/or rules and regulations.

 4

 5                    Section 16 of the Lease Agreement states, as follows:

 6

 7      “16. CONDOMINIUM; PLANNED UNIT DEVELOPMENT:

 8      A. The Premises are a unit in a condominium, planned unit development, common interest subdivision or other

 9      development governed by a homeowners’ association (“HOA”). The name of the HOA is RENAISSANCE HOA.

10      Tenant agrees to comply with all HOA covenants, conditions and restrictions, bylaws, rules and regulations and

11      decisions (“HOA Rules”). Landlord shall provide Tenant copies of HOA Rules, if any. Tenant shall reimburse

12      Landlord for any fines or charges imposed by HOA or other authorities, due to any violation by Tenant, or the

13      guests or licensees of Tenant.

14

15                    The Plaintiff (Landlord) provided a copy of the HOA Rules on February 15, 2016. Tenant’s smoking of

16      nicotine products, purported burning of sage, and any and all other discharge of other air-born particulate matter in

17      the premises and into the common area of the homeowners association is a violation of the Lease Agreement and

18      the HOA Rules. Tenant has been provided multiple notices to cease said activity and yet continues to discharge

19      from the premises an air pollutant which, according to neighbors’ complaints, building maintenance staff, and

20      property management staff, resembles the smell of cigarette smoke. Tenant’s said activity is a violation of HOA

21      Rule 6.7 which states, “No air pollutants or contaminants sufficient to create a nuisance should be discharged at

22      any time.”

23

24      5) In addition to the above specific Lease breaches/violations, Tenant has also maintained and/or committed a

25      nuisance upon the Premises by smoking and the discharge of other smoke. (Code of Civ. Proc., § 1161(4).)

26

27the item that this Attachment concerns is made under penalty of perjury, all statements in this Attachment are made under penalty
(If
of perjury.)

  Form Approved for Optional Use                                   ATTACHMENT                                               www.courtinfo.ca.gov
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  MC-025 [Rev. January 1, 2007]                               to Judicial Council Form                                  American LegalNet, Inc.
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                EXHIBIT “1”
                                                                               EXHIBIT A - 9/27
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                                                         45



                                           Lease Renewal Agreement
Parties

This Lease Renewal Agreement (hereinafter referred to as “Renewal Agreement”) is made and entered into on
3/1/2022 by and between Jeffrey Cameron, of 521 S. Nardo Ave, Solana Beach, California, 92075 (hereinafter
called the “Lessor”) and Kennan Kaeder (hereinafter called the “Lessee”), tenant of the premises named below
(“Premises”).

Premises

Address: 645 Front St. Unit 707, San Diego, California 92101.
Type: Condo

Original Lease

Lessor and Lessee had entered into a lease agreement for the Premises described above on February 15, 2016 (the
“Original Lease”). The Original Lease expires on February 15, 2017. All terms, conditions, and provisions of the
said Original Lease are hereby incorporated by attachment (as Exhibit A).

WHEREAS, Lessor and Lessee desire at this time to further extend and amend said Original Lease as hereinafter set
forth.

WHEREAS, it is therefore mutually agreed that the Original Lease shall be further extended and amended as
follows:

Renewal Terms and Conditions

That Lessor and Lessee hereby agree to extend the Original Lease for a further term of 12 months, canceling the
existing month‐to‐month lease extension agreement. The renewal lease will begin on March 1, 2022 and end on
February 28, 2023 (herein referred to as the “Renewal Term”).

The Lessee shall pay a monthly rental of $3,750.00 (5.6% increase) for each and every calendar month throughout
the Renewal Term. The Lessee has already paid up through February 28, 2022 so first payment discussed above
will begin March 1, 2022.

For the Renewal Term Lessee agrees to pay Lessor the above agreed rent per month on or before the first day of
each month. Per section 6 in the Original Lease rent paid after 5 days of the due date is considered late. Upon a
late payment the Tenant shall pay the Landlord, an additional sum of 10% ($375) of the rent payment. A 10%
charge will continue to be assessed each month until Tenant has paid 100% of all past and present rent payments
on or before the 5th day of the month.

Replacement costs of light bulbs, water filters, and air filters are the responsibility of the Lessee.

All of the terms and provisions of said Original Lease except as herein modified, are to remain in full force and
effect and are made a part of this Renewal Agreement.


_______________________________________________                                      2/16/2022
                                                                                    ______________
Jeffrey Cameron (“Lessor”)                                                          Date

     Kennan E. Kaeder                                                                 03/04/2022
_______________________________________________                                     ______________
Kennan Kaeder (“Lessee”)                                                            Date




                                                                                                               EXHIBIT A - 10/27
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                                         45



                                       Exhibit A

                     [Following 8 pages – Original Lease Agreement]




                                                                                  EXHIBIT A - 11/27
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   4-        CALIFORNIA             RESIDENTIAL LEASE OR
 4111        ASSOCIATION      MONTH-TO-MONTH RENTAL AGREEMENT
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  111                                 (C.A.R. Form LR, Revised 12/15)
     lipOF
    Ilk      OF  REALTORS
               REALTORS

 Date 1100/2P
 Date          F l(e
        I it 420  g(.    E FIZGY
                       J E—FFIZGY      GitNIE kCsQ                             s CAtmEeoLl                                                                                   (*Landlord") and
                                                                                                                                                                             ("Landlord")
                                                   4<ENNAN EE.
                                                   4GENKIANJ KAPD.F42.
                                                               KAPDF42.-                                                                                         ("Tenant") agree as follows:
 1. PROPERTY:
     PROPERTY:
     A. Landlord rents to Tenant and Tenant rents from Landlord, the real property and improvements described as:               Street #707,
                                                                                                                          Front Street
                                                                                                                  as. 645 Front        #707, San
                                                                                                                                              San
        Dierro,
        Diego, CA
                CA 92101
                    9210                                                                                                                 ("Premises").
     B. The
        The Premises
             Premises are
                        arefor
                            forthe
                                 the
                                   sole
                                     sole
                                        use
                                          use
                                            ases
                                               a personal
                                                 a personal
                                                          residence
                                                             residence
                                                                    by the
                                                                        by following
                                                                            the following
                                                                                     namednamed
                                                                                            person(s)
                                                                                                 person(s)
                                                                                                      only: only: KEN/4AM     E K„AgjD'E_R_
                                                                                                                              E              KewNAkj
                                                                                                                                   1(A -D __R....
               following personal property, maintained pursuant to paragraph 11,
      C. The following                                                                                  11, is included:
                                                                                                                L (ti checked)
                                                                                                                  or ❑ (if checked) the personal property on the attached addendum.
               Premises may
     D. The Premises         maybe besubject
                                       subjecttotoaalocal
                                                        localregt   rIt control
                                                                         control ordinance
                                                                                   ordinance
 2. TERM:
      TERM: The term begins on (date)                      0 i rV/2_o                f j (40
                                                                                  2ntle                                                          ("Commencement Date"), (Check A or          or B):
     LI A. Month-to-Month:
      L     Menth-to-Month: and continues    continues as    as 6month-to-month
                                                                      month-to-monthtenancy. tenancy.Tenant
                                                                                                         Tenantmay mayterminate
                                                                                                                        terminatethe   thetenancy
                                                                                                                                            tenancyby bygiving
                                                                                                                                                         giving written
                                                                                                                                                                  written notice
                                                                                                                                                                          notice at
                                                                                                                                                                                  at least
                                                                                                                                                                                      least 30 days
              prior to the intended termination date. Landlord may terminate the tenancy by giving written notice as provided by law. Such notices may be
              given 011
                      on any date.
     NB.
      53. Lease:
              Lease; and shall terminate on (date)
              Tenant shall
              Tenant      shall vacate
                                 vacate thethe Premises
                                                Premisesupon    upontermination
                                                                                          5/2-ol 7
                                                                                      2/ i 54)4)
                                                                           terminationofofthe  the greement,
                                                                                                                                                          12:00
                                                                                                                                                       at 1Z. O()
                                                                                                                   unless: (i) Landlord and Tenant have extended this Agreement in
                                                                                                      regiment, unless:
                                                                                                                                                                                  u  tgl AM/
                                                                                                                                                                                         AM/ ❑J PM.
                                                                                                                                                                                                PM.

              writing or signed a new   new agreement;
                                               agreement; (ii)    (lit mandated by local rent control law; or (iii) Landlord    Landlord accepts
                                                                                                                                             accepts Rent
                                                                                                                                                       Rent from
                                                                                                                                                             from Tenant (other than past due
              Rent), in which case a month-to-month tenancy shall be created which either party may terminate as specified in paragraph 2A. Rent shall
              be at a rate agreed to by Landlord and Tenant, or as allowed by law. All other terms and conditions of this Agreement shall remain in full
              force and effect.
 3. RENT: "Rent" shall mean alt       all monetary obligations of Tenant to Landlord under the terms of the Agreement, except security deposit.
      A. Tenant
         Tenant agrees
                    agreestoto   pay     3,30n
                                   pay $ 3 30         .3                        _      per month for the term of the Agreement.
     B. Rent is payable in advanceadvance 6n  on the   1st (or
                                                  the 1st        7
                                                               (mu                         )    ) day of each calendar month, and is delinquent on the next day.
      C. If Commencement Date falls on any day other than the day Rent is payable under paragraph 3B, and Tenant has paid one full month's Rent in
                         Commemereent Date,
         advance of Commencement               Date, Rent for the second calendar month shall be prorated and Tenant shall pay                          pay 1/30th of the monthly rent per day
         for each day remaining in prorated second month.
     D. PAYMENT:
         PAYMENT: Rent
         (name)
         (name) _
                          Rentshall
                                  shallbebe p idby bykpersonal
                                                       "personal check,
                                                                t ILA
                                                                A     LA
                                                                           check,❑
                                                                                     ►
                                                                                      money        order, ❑
                                                                                          moneyorder,      —I cashiers    check, or ❑ other
                                                                                                                cashier's check,
                                                                                                                                                  rcl rlf
                                                                                                                                         oehronerlr
                                                                                                                                            ath •libi675-1
                                                                                                                                              (phone)           • t5 ', (p51 'Lc)I    2015 at
                                                                                                                                                                                                  , to

         (address)         24
                           2  24iI 3  5                  ei2A           tew                  -)t— • •                           A        e    c12   et3-7 ri
                                                                                                                                                i211177                                         ,  (or
                                                                                                                                                                                                   for
         at any other location subsequently specified by Landlord in writing to Tenant)                            (and 19 ifif checked, rent may be paid
                                                                                                         Tenant) (and                                       paid personally,
                                                                                                                                                                  personally. between the hours
         of                            and                                   an the tot/owing
                                                                            on       following days                                                                              ). IF any payment
                                                                                                                                                                                    If any  payment
         is returned for non-sufficient funds ("NSF") or because tenant stops payment, then, after that: (i) Landlord may, in writing, require Tenant to pay
         Rent inin cash
                   cash forfor three
                                threemonths
                                       monthsand  and(ii)
                                                        (ii)allallfuture
                                                                     futureRent
                                                                              Rentshall
                                                                                     shallbebe   paid
                                                                                               paid     Ei0money
                                                                                                     byby      moneyorder,
                                                                                                                       order,orycashiers
                                                                                                                                orycashiers check.
                                                                                                                                                 check.
     E. Rent payments received by Landlord shall be applied to the earliest amount(s) due or
     E.                                                                                                                    rx past due.
 4. SECURITY
     SECURITYDEPOSIT:
                   DEPOSIT:
     A. Tenant agrees to pay $
         Owner of the Premises,
                            Premises, orLJ
                                              5.3cc
                                              5:300
                                          oril held
                                                heldininOwner's
                                                          Owner'sBroker's Brokers trust
                                                                                      trust account.
                                                                                                     as a security deposit.
                                                                                                                      deposit. Security
                                                                                                                                  Security deposit
                                                                                                                                              deposit will
                                                                                                                                                       will be
                                                                                                                                                            be S'transferred
                                                                                                                                                                ?transferred to and held by the

     B. All or any portion of the security deposit may be used, as reasonably necessary, to: (i) cure Tenant's default in payment of Rent (which includes
         Late Charges, NSF fees or other sums due); (ii) repair damage, excluding ordinary wear and tear, caused by Tenant or by a guest or licensee of
         Tenant; (iii)
                    (lit) clean Premises,
                                  Premises. if necessary, upon termination of the tenancy;               tenancy: and (Iv)  (iv) replace or return personal property or appurtenances.
         SECURITY DEPOSIT SHALL NOT BE USED BY TENANT IN LIEU OF PAYMENT OF LAST MONTH'S RENT. If all or any portion of the
         security deposit is used during the tenancy, Tenant agrees to reinstate the total security deposit within five days after written notice is delivered to
         Tenant.   Within 21
         Tenant Within       21 days after Tenant vacates the Premises, Landlord shall: (1) furnish Tenant an itemized statement indicating the amount of any
         security deposit received and the basis for its disposition and supporting documentation as required by California Civil Code § 1950.5(g);                            1950.6(g). and (2)
         return any remaining portion of the security deposit to Tenant.
     C. Security deposit         will not   be   returned       until     all Tenants       have   vacated     the Premises      and    all keys   returned.   Any   security  deposit returned
         by check shall be made out to all Tenants named on this Agreement, or                                  or as subsequently modified.
     D. No interest will be paid on security deposit unless required by local law.
     E. If the security deposit is held by Owner, Tenant agrees not to hold Broker responsible for its return. If the security deposit is held in                                        in Owner's
                            account and
         Broker's trust account,               Broker's authority
                                       and Broker's        authority is     is terminated
                                                                                terminated before       expiration of this Agreement, and security deposit is released to someone
                                                                                               before expiration
                       Tenant. then Broker shall notify Tenant,
         other than Tenant,                                             Tenant. in writing, where and to whom security deposit has been released. Once Tenant has been
         provided such notice, Tenant agrees    agrees not to      to hold
                                                                       hold Broker
                                                                              Broker responsible
                                                                                         responsible forfor the
                                                                                                             the security
                                                                                                                 security_ deposit.
                                                                                                                           de      it.
                            RECEIVED/DUE.: Move-in
 5. MOVE-IN COSTS RECEIVED/DUE:                     Move-infunds      funds   mademadepayable
                                                                                           payableto _ to ,.1.c•- g                          C4Niie.ONJ
     shall
     shall be
           bepaid             ersurial check,
               paidbby (personal         check,I money
                                                     moneyorder,   order. or  or0 ❑cashier's
                                                                                    cashiers check-
                                                                                                 check.
             catego7
             Category           zoic                 Total Due                               Payment Received                           Balance Due                           Date Due
     Rent
     Rent from
             from t (i                1
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     to 2i)(1/2r$
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     'Security Deposit
     "Security  Dew:sit                         3), o
                                               .3 -(m         0
     Other                                           ,_ A,
     Other                                           WA
                                                     1/p  /14
     Total                                         4- 9cic.-,C2
                                                   4       :5c,
     'The maximum amount Landlord may receive as security deposit, however designated, cannot exceed two months' Rent for unfurnished premises, or
     three months' Rent for           ished premises.
                             forfjtFtlished
     Tenant's Initials
                initials                  )(
                                          )(                                                                             Landlord's Initials (       _               )
 D 2015, California
         Calilorma Association
                    ft6,606i6tionofofREALTORS®,
                                     REALTORS®, foe.
                                                Inc.

 LR REVISED
    REVISED 12115
            12/15 (PAGE 1 OF 6)                                                                                                                                                          EQUAL .4131.1.4
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                   RESIDENTIAL LEASE OR MONTH-TO-MONTH RENTAL AGREEMENT (LR PAGE 1 OF 6)
 Mission Eqmq
         EquityMaRne111,11I. 11770 VVa
                Management, 11770          Awr. Ste 223
                                       nwr Ave.
                                   Warner               houmixt. Valley, CA 92716
                                                    223 Fountain            92706                                           Phone' 714-442-2476
                                                                                                                            Phone,                       Fax:
                                                                                                                                                         Fax619-342-7702
                                                                                                                                                              I 4•341-7707          Cameron
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                                                                                                            FrBSEff.          48026
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                                                                                                                                                                                                   EXHIBIT A - 12/27
Case 23-03508-CL13                                    Filed 11/14/23                         Entered 11/14/23 11:39:51                                            Doc 8-3                    Pg. 17 of
                                                                                               45




 Premises: 645 Front Street 0707,
                            #707, San Diego,
                                      Diago,CA
                                             CA 92107
                                                92101                                                                                            Date:
                                                                                                                                                 Date:       lip/2p 41p
                                                                                                                                                       I / 11412_0    is
 6. LATE
    LATE CHARGE;
          CHARGE;RETURNED
                     RETURNED CHECKS:
                                  CHECKS:
     A. Tenant acknowledges either late payment of Rent or issuance of a returned check may cause Landlord to incur costs and expenses, the exact
        amounts of which are extremely difficult and impractical to determine. These costs may Include,
                                                                                                 include, but are not limited to, processing, enforcement
        and accounting expenses, and sale
                                       late charges
                                            charges imposed
                                                    imposed on Landlord. If any installment of Rent due from Tenant is not received by Landlord within S5
        (or
        (EH-  n                          )
                                ) calendar days after the date due, or if a check is returned, Tenant Shall   pay to Landlord, respectively, an additional
                                                                                                        shall pay
        sum of $                                 or     OCD        % of the Rent due as a Late Charge and $25.00 as a NSF fee for the first returned
        check and $35.00 as a NSF fee for each additional returned check, either or both of which shall be deemed additional Rent.
     B. Landlord and Tenant agree that these charges represent a fair and reasonable estimate of the costs Landlord may incur by reason of Tenant's
                                  Leta Charge or NSF fee due shall be paid with the
        late or NSF payment. Any Late                                               Ihe current installment of Rent. Landlord's acceptance of any Late
        Charge or NSF fee shall not constitute a waiver as to any default of Tenant. Landlord's right to collect a Late Charge or NSF fee shall not be
        deemed an extension of the date Rent is due under paragraph 3 or prevent Landlord from frost exercising any other rights and remedies under this
        Agreement and as provided by law.
 7, PARKING: (Check
 7.             (Check A or B)
                       A or
     KA.
       A. Parking is permitted as follows:               A Deck
                                                         Pi cc. vtiED                                   cAR- 1- AN) p erik PARt_aJO
                                                                                                     '2 CAR-               PARy_Akio Si3Crr
              The right
              The    rightto     parkingyis
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                                               U is not inch
                                                         [Maud
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                                                                      theRent
                                                                           Rentcharged
                                                                                  chargedpursuant
                                                                                              pursuanttotoparagraph
                                                                                                               paragraph3.3.IfIfnot notincluded
                                                                                                                                        includedIn in the
                                                                                                                                                       the Rent,
                                                                                                                                                            Rent, the
                                                                                                                                                                   the parking
                                                                                                                                                                       parking rental fee
              shall be an additional $                                             per month. Parking space(s)    spacers) are to be   he used for parking properly licensed and
              operable motor vehicles, except for trailers, boats, campers, buses or trucks (other                   {other than pick-up trucks). Tenant shall park in assigned
              spacers) only. Parking space(s) are to be kept dean.
              space(s)                                                    clean. Vehicles
                                                                                   Vehicles leaking
                                                                                               leaking oil,      gas or
                                                                                                            oil, gas   or other motor vehicle fluids shall not be parked on the
              Premises. Mechanical work or storage of inoperable vehicles is not permitted in parking space(s) or elsewhere on the Premises.
 OR r]
     113.B. Parking
              Parking  is is
                           notnotpermitted
                                  permittedononthe
                                                 thePremises.
                                                     Premises.
 &
 8. STORAGE:
    STORAGE:(Check  (CheckAA or    or la)
                                      B)
      <A. Storage is permitted as follows:                %             I 6:41,3fWE-0            c*A06 LA0
                                                                                               SieRacie
                                                                                                 St D   CAGE-
              The right
                    right to toseparate
                                separatestorage
                                            storagespace
                                                     space•     Liisis not
                                                             is,U
                                                          • is,        not, .ncluded
                                                                            'ncluded in
                                                                                      In the
                                                                                           the Rent
                                                                                                Rent charged
                                                                                                        charged pursuant
                                                                                                                     pursuant to to paragraph
                                                                                                                                    paragraph3. 3.Iflino(
                                                                                                                                                      not included in the Rent, storage
              space fee lee shall be an additional $                                               per month. Tenant shall store only personal property Tenant owns, and
              shall not store property claimed by another or in             ich another     has any    right.
                                                                                                       right,  title
                                                                                                               title  CT
                                                                                                                      or interest.
                                                                                                                          interest. Tenant
                                                                                                                                     Tenant shall
                                                                                                                                             shall not
                                                                                                                                                   not  store
                                                                                                                                                         store any
                                                                                                                                                               any improperly
                                                                                                                                                                    improperly packaged
              food or perishable goods, flammable materials, explosives, hazardous waste or other inherently dangerous material, or illegal substances.
 OR ❑[ i B. Except for Tenant's personal property, contained entirely within the Premises.      Premises, storage is not permitted on the Premises.
 9, UTILITIES: Tenant agrees to pay for all utilities and services, and
 9.
     except                         NIA
                                    kr:0
                                                                               and the Following       charges:
                                                                                          following charges:               Nipt   N/A
                                                                                         , which shall be paid for by Land rd. If any utilities are not separately metered,      metered.
                                       'proportional
     Tenant shall pay Tenant's proportional          share,  as  reasonably    determined      and    directed     by Landlord. If utilities are separately metered, Tenant shall
     place utilities in Tenant's name as of the Commencement Date. Landlord is only responsible for installing and maintaining one usable telephone jack
     and one telephone line to the Premises. Tenant shall pay any cost for Conversion     conversion from from existing
                                                                                                                  existing utilities service provider.
     CONDMON OF
 10. CONDITION             PREMISES: Tenant has examined Premises and,
                     OF PREMISES:                                                and, ifif any,
                                                                                           any, all
                                                                                                 all furniture,
                                                                                                     furniture, furnishings,
                                                                                                                    furnishings, appliances,
                                                                                                                                    appliances, landscaping
                                                                                                                                                 landscaping and and fixtures..
                                                                                                                                                                       fixtures, including
     smoke detector(s).
                          apply:1
     (Check all that apply:)                                                                                                                                                                  •
     E
     E A.A. Tenant
              Tenantack    acknowledges
                               owledgee these  these
                                                  itemsitems
                                                         are clean
                                                               are clean
                                                                     and in nd
                                                                             operable
                                                                                 in operable
                                                                                         condition,     with the following
                                                                                                  condition,         with the following                 44141fei74fastek
                                                                                                                                        exceptions:'AtdaktilkgAttitnc
                                                                                                                                             exceptions:'
               104-                   4Apacitif                               c__
     I   B.    Tenant's acknowledgment of the   the condition
                                                    condition of
                                                               of hese
                                                                  hese items
                                                                         items isis contained
                                                                                    contained in   an attached
                                                                                               in an  attached statement
                                                                                                                 statementof ofcondition
                                                                                                                                condition(CAR.
                                                                                                                                           (CAR. Form MIMO).
         C.
         C.    (I) Landlord will Deliver to Tenant a statement of condition
                                                                        condition (CAR.
                                                                                     (CAR. Form    MtM01 El within 3 days after execution
                                                                                            Form MIMO)                               execution of
                                                                                                                                                ofthis  Agreement;❑
                                                                                                                                                   thisAgreement;    0 prior
                                                                                                                                                                       peon
               to the
                   tineCommencement
                        Commencement      Date;
                                           Date;El within
                                                   within 3 days  after  the  Commencement       Date.
               (II) Tenant shall complete and return the MIMO to Landlord within 3 (or 1            1_               )) days
                                                                                                                        days after
                                                                                                                              after Delivery.
                                                                                                                                    Delivery. Tenant's failure to return the
               M1M0
               MIMO within that time shall conclusively be deemed
                                                                deemed Tenant's
                                                                            Tenant's Acknowledgement
                                                                                       Acknowledgement of  of the
                                                                                                               the condition
                                                                                                                   condition as
                                                                                                                              as stated
                                                                                                                                 stated in
                                                                                                                                         inthe
                                                                                                                                            theMIMO.
                                                                                                                                               MIMO.
     4   1. Tenant will provide Landlord a list of items that are damaged or not In
           .
                                                                                                  in operable condition within 3 (or   (or H    n             ) days  I
                                                                                                                                                                 days after
               Commencement Date, Dale, not as
                                             es a contingency
                                                   contingency ofof this Agreement but rather as an   en acknowledgement of the condition of the Premises.
     Fl E. Other:
 11. MAINTENANCE USE AND REPORTING:
     A. Tenant shall properly use, operate and safeguard Premises, including if applicable, any landscaping, furniture, furnishings and appliances, and
          all mechanical, electrical,
                             electrical, gas
                                         gas and
                                             and plumbing fixtures,
                                                             fixtures. carbon monoxide devices and smoke     smoke alarms,
                                                                                                                       alarms, and
                                                                                                                                and keep
                                                                                                                                     keep them
                                                                                                                                            them and
                                                                                                                                                  and the
                                                                                                                                                       the Premises
                                                                                                                                                           Premises clean,
                                                                                                                                                                      dean,
          sanitary and well ventilated. Tenant shall be responsible for checking and maintaining all carbon monoxide detectors and any additional phone
          lines beyond the one line and tackjack that Landlord shall provide and maintain. Tenant shall immediately notify Landlord, in writing, of any problem,
          malfunction or damage with any item including carbon monoxide devices and smoke alarms on the property.               properly. Tenant shall be charged for all
          repairs or replacements caused by Tenant, pets,  pets. guests or licensees of Tenant, excluding ordinary wear and tear. Tenant shall be charged for all
          damage to Premises as a result of failure to report a problem in a timely manner. Tenant shall be charged for repair of drain blockages or
          stoppages, unlirs caused
                        ur  Sa Causedby defective
                                         by defective
                                                   plumbing
                                                      plumbingparts
                                                                 partsorortree
                                                                            treeroots
                                                                                  rootsinvading
                                                                                        invadingsewer
                                                                                                  sewer lines.
     B. ❑ Landlord Tenant shall water the garden,  garden, landscaping,
                                                            landscaping. treesIrees and
                                                                                      and shrubs,
                                                                                          shrubs. except:
                                                                                                    except

     C. EljaodrordIATenant
     C. U LandlordVTenantshall
                           shall maintain
                                 maintain the
                                           the garden,
                                               garden, landscaping, trees and shrubs,
                                                                              shrubs, except:

     D. [J
        L  ILandlord
             Landlord __
                      ❑ Tenant
                         Tenanl shall maintain
     E. Landlord and Tenant agree that State or local water use restrictions shall supersede any obligation of Landlord or Tenant to water or maintain
     E-
        any garden, landscaping, trees or shrubs pursuant to 11B, 11C, and 11D.
     F. Tenant's failure to maintain any Item
                                          item for which Tenant is responsible shall give Landlord the right to hire someone to perform such maintenance
        and charge Tenant to cover the cost of such maintenance.
     G. The following
               following Rem
           tn/Ac k4V2.
                                           p in rty
                         item of personal prop
                                       ia_s(
                                                 areare included
                                                     included  in in thePremises
                                                                   the   Prenaseswithout
                                                                                  without warranty
                                                                                           warranty and
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                                                                                                                                              or or
                                                                                                                                                .
                                                                                                                                                    replacethem:
                                                                                                                                                  replace   them:




     Tenant's Initials (I                    )                                                                 Landlord's Initials
                                                                                                               Landlord's  Initials{ (,                )) (


LR REVISED 12115
           12(15 (PAGE 2 OF 6)
                 RESIDENTIAL LEASE OR MONTH-TO-MONTH RENTAL AGREEMENT (LR PAGE 2 OF 6)
                     Produced with
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                                   zipunrIlD by .6pLccix 16076 Fifteen
                                                ApLogis 18070  Fifteen Mile
                                                                       We R544
                                                                            Road,Framer.  Rlichigan48026
                                                                                  Fraser, Michigan        vemmaiplogutsan
                                                                                                   46025 Vr6wial rbg.%C.Q.,                                      - La.




                                                                                                                                                                                                  EXHIBIT A - 13/27
Case 23-03508-CL13                                         Filed 11/14/23                             Entered 11/14/23 11:39:51                                                  Doc 8-3                       Pg. 18 of
                                                                                                        45




 Premises:
 Premises 6t46
           645 Front
               Front Street #707, San Diego,
                            #707, Sap Diego, CA
                                             CA 92101
                                                92101                                                                                                           Date /./1
                                                                                                                                                                Date:   / (v '2D 1 (p
                                                                                                                                                                           tP/201

 12. NEIGHBORHOOD
 12.  NEIGHBORHOOD CONDITIONS: CONDITIONS: ITenant   orient Is  is advised
                                                                   advised to   to satisfy
                                                                                   satisfy him
                                                                                            him or herself as to neighborhood or area conditions, including schools, proximity and
      adequacy of law enforcement, crime statistics, proximity of registered felons or offenders, fire protection, other governmental services,                                 services. availability,
      adequacy and cost of any wired, wireless intemet         internal connections or other telecommunications or other technology services and installations, proximity
      to commercial, industrial or agricultural activities, existing and proposed transportation, construction and development that may affect noise, view.                                     view, or
      traffic, airport noise, noise or odor from any source, wild and domestic animals, other nuisances, hazards,                          hazards. or circumstances, cemeteries,
                                                                                                                                                                                cemeteries. facilities
      and condition of common
                            consrion areas, conditions and Influences  influences of significance to certain cultures and/or religions, and personal needs, requirements and
      preferences of  of Tenant.
                         Tenant
 13. PETS: Unless otherwise provided in California Civil Code §54.2, no animal or pet shall be                                  be kept
                                                                                                                                    kept on
                                                                                                                                         on oror about
                                                                                                                                                 about the the Premises
                                                                                                                                                               Premises without
                                                                                                                                                                            without Landlord's
                                                                                                                                                                                      Landlord's prior
      written consent, _I   0 except
                               except asas agreed
                                            agreed to   to in
                                                            in the
                                                                the attached
                                                                     attached Pet Addendum (CAR. Form PET).
 14. '(If
 14. X(Ifchecked)
           checked) NO   NOSMOKING:
                              SMOKING:No       Nosmoking
                                                    smokingofofany   anysubstance
                                                                            substanceisisallowed
                                                                                             allowedon    onthe
                                                                                                              thePremises
                                                                                                                   Premises or  or common
                                                                                                                                   common areas.
                                                                                                                                               areas. IfIf smoking
                                                                                                                                                            smoking does
                                                                                                                                                                     does occur on the Premises
      or common
          common areas,
                      areas,(i)   Tenantisisresponsible
                                Tenant          responsiblefor     forall
                                                                       alldamage
                                                                            damage caused
                                                                                        caused by the smoking including,  including, but
                                                                                                                                      but not limited to to stains,  bums, odors and removal of
                                                                                                                                                             stains, bums,
      debris; (ii) Tenant is in breach of this Agreement;  Agreement, (iii) Tenant, Tenant. guests,
                                                                                               guests. and all others may be required to leave the Premises; and (iv) Tenant
      acknowledges that in order to remove odor caused by smoking.                  smoking, Landlord may need to replace carpet and drapes arid                   and paint the entire premises
      regardless of when these items were last cleaned, replaced, or repainted.                repainted Such   Such actions
                                                                                                                         actions and
                                                                                                                                  and other
                                                                                                                                       other necessary
                                                                                                                                               necessary stepssteps will
                                                                                                                                                                     will impact    the return of any
                                                                                                                                                                           impact the
      security deposit. The Premises or common areas may be subject to a local non-smoking ordinance.
 15.
 15. RULES/REGULATIONS:
      RULES/REGULATIONS:
      A. Tenant agrees to comply with all Landlord rules and regulations that are at any time posted on the Premises or delivered to Tenant. Tenant shall
           not, and shall ensure that guests and licensees of Tenant shall not.                     not, disturb•
                                                                                                           disturb, annoy, endanger or interfere with other tenants of the building or
           neighbors, nr or use the Premises for any unlawful purposes, including, but not limited to, using, manufactunng,              manufacturing, selling, storing or transporting illicit
           drugs or other contraband, or violate any law or ordinance, or commit a waste or nuisance on or about the Premises.
      B. (If
           (1fapplicable,
                applicable, check
                               check one)
            — 1. Landlord shall provide Tenant   Tenant with aa copy copy of the rules and regulations within                           days or
      OR W. 2. 2. tenant
                   Tenant  has
                             has been
                                  beenprovided
                                          providedwith,
                                                      with,and andacknowledges
                                                                     acknowledges receipt receipt of,
                                                                                                   of, aa copy
                                                                                                           copy ofof the
                                                                                                                      the rules
                                                                                                                           rules and regulations.
 %MOchecked)
 16.  Xilf checked)CONDOMINIUM;
                        CONDOMINIUMPLANNED       PLANNEDUNIT       UNITDEVELOPMENT:
                                                                           DEVELOPMENT:
      A. The Premises am       are a unit in a condominium,
                                                   condominium• planned    planned unit development, common interest subdivision or other development governed by a
           homeowners' association ("HOA"). ('HOA"}. The  The name
                                                                 name of  of the
                                                                             the FICA       izei.1 Al 4..c. ANC .
                                                                                   HOA is . —ve is; Q1 SC ANC e VW                              Vie)  A                            • . Tenant agrees
           to comply with all al HOA
                                  HOA covenants,
                                         covenants, conditions
                                                          conditions and  and restrictions.
                                                                                 restrictions, bylaws.
                                                                                               bylaws, rulesrules and
                                                                                                                    and regulations
                                                                                                                          regulations and
                                                                                                                                       and decisions
                                                                                                                                             decisions ("HOA
                                                                                                                                                           ('HOA Rules"). Landlord shall provide
           Tenant copies of HOA Rules, if any. Tenant shall reimburse Landlord for any fines or charges imposed by HOA or other authorities, due to arty                                            any
                           Tenant, or
           violation by Tenant,      or the
                                         the guests
                                              guests or  or licensees
                                                             licensees of   of Tenant.
                                                                                Tenant
      B. (Check one)
           x1.
           N  .1. Landlord shall
                              shall prove        Tenant with a copy of the HOA
                                     provi e Tenant                                   HDA Rules within                                                                                             days
                   or                  ' 1    11-y
                                               131 2-0 V7     k    W
      OR CI712.    Tenant has
               2. Tenant     has been
                                  been p ovided
                                            Ind with, and acknowledges receipt of, a copy of the HOA Rules.
 17. ALTERATIONS; REPAIRS: Unless otherwise specified by law or paragraph 29C, without Landlord's prior written consent, (I)                                              (i) Tenant shall not make
     any repairs, alterations or improvements in or about the Premises including: painting, wallpapering.                    wallpapering, adding or changing locks, installing antenna or
     satellite dish(es), placing signs, displays or           er exhibits, or using screws, fastening devices, large nails or adhesive materials;                         (Ii) Landlord shalt
                                                                                                                                                              materials: (II)             shall not be
     responsible
     responsible for  for the
                          the costs
                                costs ofof alterations
                                           alterationsor     orrepairs
                                                                 repairsmademadeby       Tenant (ill)
                                                                                     byTenant;      (ill) Tenant shall not deduct from Rent      Rent the
                                                                                                                                                        the costs   of any
                                                                                                                                                              coils of any repairs,
                                                                                                                                                                              repairs, alterations
                                                                                                                                                                                        alterations or
     improvements; and (iv) any deduction made by Tenant shall be considered unpaid Rent.
 18. KEYS; LOCKS:
     A. Tenant acknowledges
                     acknowledgesreceipt receiptofoflor (orTenant
                                                             Tenantwill will         _L prior
                                                                               receive)]
                                                                            receive        priortolothe
                                                                                                      theCommencement
                                                                                                           CommencementDate,      Date,ororli                                                        ):
                 2.    key(s)
                       keys) to to Premises,
                                   Premises,                                            .M, '1...
                                                                                              /2„ remote
                                                                                                     remotecontrol
                                                                                                                 controldevice(s)
                                                                                                                           device(s) for
                                                                                                                                      for garage
                                                                                                                                          garage door/gate
                                                                                                                                                    door/gate opener(s),
                       key(s) to mailbox,
            . i        key(s) to common area(s).
                                               area(s),                                  CI
     B. Tenant acknowledges
                    acknowledges that   that locks
                                              locks to to the    Premises II]have,
                                                           thePremises"...         have, Arave
                                                                                           Nimve not,not, been re-keyed.
     C. If Tenant re-keys existing locks or opening devices, Tenant shall Immediately                           immediately deliver copies of all keys to Landlord. Tenant shall
           pay all costs and charges related to loss of any keys or                 or opening devices. Tenant may not remove locks, even if installed by Tenant.
 19. ENTRY:
     A. Tenant shall make Premises available to Landlord or Landlord's representative for the purpose of entering to make necessary or agreed repairs,
           (including, but
           (including,   but not
                               not limited
                                    limited to,
                                              to, installing,
                                                   installing, repairing.
                                                                    repairing, testing, and maintaining smoke detectors and carbon monoxide devices, and bracing,
           anchoring or strapping water heaters), decorations.      decorations, alterations, or improvements, or to supply necessary or agreed services, or to show
           Premises to prospective or actual purchasers, tenants, mortgagees, lenders, appraisers, or contractors.
     B. Landlord and Tenant agree that          lhat 24-hour written notice shall be reasonable and sufficient notice, except as follows: (1) 48-hour written notice is
           required to conduct an inspection of the Premises prior to the Tenant moving out, unless the Tenant waives the right to such notice. (2) If
           Landlord has in writing informed Tenant that the Premises are for sale and                       and that Tenant will be notified orally to show the premises (C.A.R. Form
           NSE), then, for the next 120 days following the delivery of the USE•                  NSE, notice may be given orally to show the Premises to actual                actual or  prospective
                                                                                                                                                                                       or prospective
           purchasers. (3) No written notice is required if Landlord and Tenant orally agree to an entry for agreed services or repairs if the date and time of
           entry are within one week of the oral agreement.   agreement {4)     (4) No
                                                                                    No notice
                                                                                         notice is
                                                                                                 is required:
                                                                                                     required: (I) (i) to
                                                                                                                       to enter in case of an emergency; (ii) if the Tenant is present and
           consents at the time of entry-entry;, or
                                                  or (ill) if the Tenant has abandoned or surrendered the Premises.
     C. 111(11
           0 (If checked)
                    checked)  Tenant
                                 Tenant authorizes
                                           authorizes   thetheuseuseofof
                                                                       aa  keysafe/lockbox
                                                                              keysafelockboxtotoallow  allowentry
                                                                                                               entryinto
                                                                                                                       intothe
                                                                                                                            thePremises
                                                                                                                                 Premisesandandagrees
                                                                                                                                                  agreestotosign
                                                                                                                                                               signaakeysafe/lockbox
                                                                                                                                                                       keysatelockbox addendum
           (C.A.R.Form
           (CAR.     Form KLA).
                             KLA),
 2(161rehlre•-•T-eteerrt-wellkeeres-Likeallord-te..plaoia-FOR.-SALE/LEASE.         /LEASE.signs       on_thePremises7
                                                                                                   signs   on the Premises.. X •
     ASSIGNMENT; SUBLETTING: Tenant shall not sublet all or any part of Premises, or assign or transfer this Agreement or any Interest
 21. ASSIGNMENT;                                                                                                                                                                interest in it, without
     Landlord's prior written consent. Unless such consent is obtained, any assignment.                assignment, transfer or subletting of Premises or this Agreement or tenancy,
     by voluntary act of Tenant, operation of law or otherwise, shall, at the option of Landlord, terminate this Agreement. Any proposed assignee,
     transferee or sublessee shall submit to Landlord an application and credit information for Landlord's approval and, if approved, sign a separate
     written agreement with Landlord and Tenant.       Tenant. Landlord's
                                                                    Landlord's consent
                                                                                    consent to any any one assignment,
                                                                                                               assignment, transfer
                                                                                                                                transfer or  sublease, shall not be construed as consent to
                                                                                                                                          or sublease,
     any subsequent
           subsequent assign
                           assign ent;
                                     nt; transfer
                                          transferor orsublease
                                                          sublease and  and doesdoes not
                                                                                      not release
                                                                                           release Tenant
                                                                                                       Tenant of Tenant's obligations under    under this
                                                                                                                                                      this Agreement.
                                                                                                                                                              Agreement


      Tenant's Initials (                       )                                                                         Landlord's Initials (           33C
                                                                                                                                                            c_        )/ l                   /


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                  RESIDENTIAL LEASE
                                LEASE OR
                                      OR MONTH-TO-MONTH RENTAL AGREEMENT (LR PAGE 3 OF 6)
                                        Produced    withmprormES
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                                                                         *Le* 18070  Fifteen
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                                                                                             Mds Rcparr         Michigan4130.25
                                                                                                        Fraser. Michigan 48026 wow   ZjOi OCI1M man
                                                                                                                                view gip,       rem                    Cameron
                                                                                                                                                                        anrrnn -• Lease
                                                                                                                                                                                  Lease




                                                                                                                                                                                                                 EXHIBIT A - 14/27
Case 23-03508-CL13                                      Filed 11/14/23                            Entered 11/14/23 11:39:51                                               Doc 8-3                    Pg. 19 of
                                                                                                    45



 Premises: 645 Front Street
                     Street 0707,     Diego, CA
                            #707, San Diego, CA 92101
                                                92101                                                                                                      Date:
                                                                                                                                                           Date.                    2_01I le
                                                                                                                                                                               (49 /20
 22. JOINT AND INDIVIDUAL OBLIGATIONS: If there is more than one Tenant, each one shall be individually and completely responsible for the
     performance of all obligations of Tenant under this Agreement, jointly  fanny with every other Tenant, and individually, whether or not in possession.
 23.
  L
 23.1±. LEAD-BASED
         LEAD-BASED PAINT   PAINT (If checked):      Premises were
                                        checked): Premises      were constructed
                                                                        constructed prior to 1978. In accordance with federal law,     law. Landlord gives and Tenant
         acknowledges receipt of the disclosures on the attached form (C.A.R. Form FLD) and a federally approved lead pamphlet.
  L
 24, E MILITARY
 24.     MILITARYORDNANCE              DISCLOSURE: (If applicable and known to Landlord) Premises are located within one mile of an area once used for
                      ORDNANCEDISCLOSURE:
         military training, and may
                                 may contain potentially explosive munitions.
                                                                       munitions,
 25.n
 25. PERIODIC
         PERIODIC   PEST
                       PEST CONTROL:
                               CONTROL;    Landlord
                                             Landlordhas
                                                       has
                                                         entered
                                                           entered  into
                                                                      into
                                                                         a acontract
                                                                              contractfor
                                                                                        forperiodic
                                                                                            periodicpest
                                                                                                     pestcontrol
                                                                                                           controltreatment
                                                                                                                    treatmentof
                                                                                                                              ofthe
                                                                                                                                  thePremises
                                                                                                                                      Premises and and shall
                                                                                                                                                        shall give
                                                                                                                                                              give Tenant a
         copy of the notice originally given to Landlord by the pest control company.
 26.E
 20. L METHAMPHETAMINE
         METHAMPHETAMINE           CONTAMINATION:
                                     CONTAMINATION:Prior  Priortotosigning
                                                                     signingthis
                                                                              thisAgreement,
                                                                                   Agreement,Landlord
                                                                                                 Landlordhashasgiven
                                                                                                                givenTenant
                                                                                                                        Tenant aa notice
                                                                                                                                  notice that
                                                                                                                                          that aa health
                                                                                                                                                  health official has issued
         an order prohibiting occupancy of the property because of methamphetamine contamination. contamirtalion. A copy of the
                                                                                                                             fhe notice and order are attached.
 27.
 27, MEGAN'S LAW DATABASE DISCLOSURE: Notice: Pursuant to Section 290.46 of the Penal Code, information about specified registered sex
     offenders is made available to the public via an Internet Web site maintained by the Department of Justice at www.meganslaw.ca.gov. Depending on
     an offender's criminal history, this information will include either the address at which the offender resides or the community of residence and ZIP
     Code in which he or she resides. (Neither Landlord nor Brokers, if any, are required to check this website. If Tenant wants further information, Tenant
     should obtain information directly from this website.)
 28. POSSESSION:
     A. Tenant is not in possession of the Premises. If Landlord is unable to deliver possession of Premises on Commencement Date, such Date shall
         be
         be extended
             extended to  to the
                             the date
                                  date onon which
                                            which possession
                                                    possession is is made
                                                                      made available
                                                                              available toto Tenant.
                                                                                             Tenant. IfIf Landlord
                                                                                                          Landlordis  isunable
                                                                                                                        unableto todeliver
                                                                                                                                    deliverpossession
                                                                                                                                             possessionwithinwithin55(or
                                                                                                                                                                       (orFI
                             ) calendar
                               calendardays
                                          daysafter
                                                afteragreed
                                                      agreedCommencement
                                                            CommencementDate,      Date, Tenant
                                                                                          Tenant may
                                                                                                  may terminate
                                                                                                        terminate this
                                                                                                                   this Agreement
                                                                                                                        Agreement by by giving
                                                                                                                                        giving written notice to Landlord,
         and shall be refunded all Rent and security deposit paid. Possession is deemed terminated when Tenant has returned all keys to the Premises
         to Landlord.
     B.E    Tenant is already in possession of the Premises.
 29. TENANTS
     TENANT'SOBLIGATIONS
                  OBLIGATIONSUPON    UPON VACATING
                                             VACATING PREMISES:
                                                          PREMISES:
         Upon termination
     A. Upon     termination of   of this
                                      this Agreement,
                                           Agreement, Tenant
                                                          Tenant shall:
                                                                      shall: (I)
                                                                              (I) give
                                                                                  give Landlord
                                                                                         Landlord allall copies
                                                                                                          copies of all keys or opening devices to Premises,
         including any common areas;    areas: (II) vacate and surrender Premises to Landlord, empty of all persons; (iii) vacate any/all parking
         and/or storage space; (iv) clean and deliver Premises, as specified in paragraph C below, to Landlord in the same condition as
         referenced in
         referenced     in paragraph
                           paragraph10;   10; (v)
                                               IN) remove
                                                   remove all
                                                            alldebris;
                                                                 debris; (vi)     give written
                                                                            (vi) give   written notice
                                                                                                 notice to Landlord of Tenant's
                                                                                                                           Tenant's forwarding
                                                                                                                                        forwarding address;
                                                                                                                                                       address;and and (vii)

     B. All alterations/improvements made by or caused to be made by Tenant, with or without Landlord's consent, become the property
         of Landlord upon termination. Landlord may charge Tenant for restoration of the Premises to the cendltien                                        condition it was in prior to any
         alterations/improvements.
     C. Right
         Right to   Pre-Move-Out Inspection and Repairs: (i) After giving or receiving notice of termination of a tenancy (C.A.R. Form NTT), or before
                to Pre-Move-Out
         the end of a lease, Tenant
                                  Tenant hashas the
                                                  the right
                                                       right to
                                                              to request
                                                                 request thatthat an
                                                                                   an inspection
                                                                                       inspectionof   ofthe
                                                                                                         thePremises
                                                                                                              Premisestake takeplace
                                                                                                                                placeprior
                                                                                                                                        priortototermination
                                                                                                                                                  terminationofofthe  thelease
                                                                                                                                                                          leaseororrental
                                                                                                                                                                                    rental(C.A.R.
                                                                                                                                                                                            (CAR.
         Form NRI). If Tenant requests such an inspection, Tenant shall be given an opportunity to remedy identified deficiencies prior to termination,
         consistent with the terms of this Agreement. Agreement (ii)   (ii) Any
                                                                            Any repairs
                                                                                  repairs or or alterations
                                                                                                 alterations made
                                                                                                                made to to the
                                                                                                                            the Premises
                                                                                                                                Premises as   as aa result
                                                                                                                                                    result of this inspection (collectively,
         -Repairs-) shall
         "Repairs")   shall be be made
                                   made at at Tenant's
                                               Tenant's expense.
                                                            expense. Repairs may be performed by Tenant or through others, who have adequate insurance and                                    and
         licenses and are approved by Landlord. The work shall comply with applicable law, including governmental permit,                                   permit. inspection and approval
         requirements. Repairs shall be performed in a good, skillful manner with materials of quality and appearance comparable to existing materials. It
        is understood that exact restoration of appearance or cosmetic items following all Repairs may not be possible.                             possible. (iii)
                                                                                                                                                                 (iii) Tenant   shall: (a) obtain
                                                                                                                                                                       Tenant shall:
        receipts for Repairs performed by others; (b)             {b) prepare a written statement indicating the Repairs performed by Tenant and the date                           dale of such
         Repairs;
         Repairs, and (c) lc) provide copies of receipts and statements  statements to   to Landlord
                                                                                            Landlord prior
                                                                                                         prior to
                                                                                                                to termination. Paragraph 29C does not apply when the tenancy is
         terminated pursuant to California Code of Civil Procedure § 1161(2),           1151(2), (3) or (4).
30. BREACH OF CONTRACT;
                     CONTRACT; EARLY                 TERMINATION: In addition to any obligations established by paragraph 29, in the event of termination by
                                        EARLY TERMINATION:
     Tenant prior
             prier to completion
                       completion of   of the
                                           the original
                                                 original term
                                                            term ofof the
                                                                      the Agreement,
                                                                             Agreement, TenantTenant shall
                                                                                                        shall also
                                                                                                               also bebe responsible
                                                                                                                          responsible forfor lost
                                                                                                                                              lost Rent,
                                                                                                                                                   Rent, rental
                                                                                                                                                            rental commissions,
                                                                                                                                                                    remmissions, advertising
    expenses and painting costs necessary to ready Premises for                  fix re-rental. Landlord may withhold any such amounts from Tenant's security deposit.               deposit
     TEMPORARY        RELOCATION:
31. TEMPORARY RELOCATION:                    Subject
                                             Subject     to
                                                         to local
                                                             local law,
                                                                   law,    Tenant
                                                                           Tenant    agrees,     upon   demand       of Landlord,   to temporarily      vacate    Premises    for a reasonable
    period, to allow for femigation
                             fumigation (or other methods) to control wood destroying pests or organisms, or other repairs to Premises. Tenant agrees to
    comply with all instructions and requirements necessary to prepare Premises to                             le accommodate pest control, fumigation or other work, including
    bagging or storage of food and medicine.medicine, and removal of perishables and valuables. Tenant shall only be entitled to a credit of Rent equal to the per                             par
    diem Rent for the period of time Tenant is required to vacate Premises.
32. DAMAGE TO PREMISES:
                     PREMISES: If,     If. by nono fault
                                                    fault of
                                                           of Tenant,
                                                               Tenant, Premises
                                                                           Premises are  are totally
                                                                                               totally or
                                                                                                       or partially
                                                                                                           partially damaged
                                                                                                                      damaged or   or destroyed
                                                                                                                                      destroyedby    byfire,
                                                                                                                                                         lire earthquake, accident or other
    casualty that render Premises totally or partially uninhabitable, either Landlord             Lendlord or Tenant may terminate this Agreement by giving the other written
    notice. Rent shall be abated as of the date      dale Premises become totally or partially uninhabitable. The abated amount shall be the current monthly Rent
    prorated on a 30-day period. If the Agreement is not           riot terminated, Landlord shall promptly repair the damage, and Rent shall be reduced based on the
    extent to which the damage interferes with Tenant's reasonable use of Premises. If damage occurs as a result of an act of Tenant or Tenant's
    guests, only Landlord shall have the right of termination, and no reduction in Rent shall be made.
    INSURANCE: Tenant's or guest's personal property and vehicles are not insured by Landlord, manager or, if applicable,
33. INSURANCE:                                                                                                                                            applicable. HOA, against loss or
    damage due so     fire, theft,
                   to fire,   theil, vandalism,
                                     vandalism, rain,rain, water,
                                                            water,criminal
                                                                     criminalor  ornegligent
                                                                                     negligentacts actsofofothers,
                                                                                                            others.ororanyanyother
                                                                                                                               other  cause.
                                                                                                                                    cause.   Tenant
                                                                                                                                                Tenant  isisadvised
                                                                                                                                                              advisedtotocarry
                                                                                                                                                                            carryTenant's
                                                                                                                                                                                  Tenant's ownown
    insurance
    insurance (renter's
                 (renter'sinsurance)
                               insurance)totoprotect
                                                  protectTenant
                                                              Tenantfrom from any
                                                                                any such
                                                                                      such lossloss
                                                                                                  or or
                                                                                                     damage.
                                                                                                         damage.      Tenant
                                                                                                                  Tenant       shall
                                                                                                                             shall    comply
                                                                                                                                   comply       withany
                                                                                                                                             with     anyrequirement
                                                                                                                                                            requirementimposed
                                                                                                                                                                            imposed onon Tenant
                                                                                                                                                                                          Tenant
    by Landlord's insurer to avoid: (I)      (i) an increase in Landlord's insurance premium (or Tenant shall pay for the increase in premium); or (ii) loss                               less of
    Insurance.
    insurance.
34. WATERBEDS/PORTABLE
34. WATERBEDS/PORTABLE WASHERS:         WASHERS:          Tenant
                                                            Tenant   shall
                                                                      shall  not
                                                                              not  use
                                                                                   use   or
                                                                                          or have
                                                                                              have  waterbeds
                                                                                                     waterbeds      on
                                                                                                                    on  the
                                                                                                                         the Premises
                                                                                                                              Premises    unless:
                                                                                                                                          unless:    (i)
                                                                                                                                                     (I)  Tenant    obtains   a valid  waterbed
                         (II) Tenant increases the security deposit in an amount equal to one-half of one month's Rent; and
    insurance policy; (ii)                                                                                                                           arid (iii) the bed conforms to the floor
    load capacity of Premises. Tenant shall not use on the Premises          Premises KPortable ortable DishwasherIXPortable
                                                                                                          Dishwasher                   Washing Machine.
                                                                                                                         XPortable Washing
35.
35. WAIVER:          waiver of
    WAIVER: The waiver          of any
                                   any breach
                                        breach shall
                                                   shall not
                                                          not be
                                                               be construed
                                                                   construed as   as aa do
                                                                                         co ltinuing
                                                                                             tinuing waiver of the same or any subsequent breach.




     Tenant's Initials (      /   r1          )                                                                       Landlord's Initials (           Jl
                                                                                                                                                    L._.1Ce      )(


LR REVISE')
   REVISED 12115
            12/15 (PAGE 4 OF 6)
                  RESIDENTIAL LEASE OR MONTH-TO-MONTH RENTAL AGREEMENT (LR PAGE 4 OF 6)
                                      Priiiiiioed
                                      Protliarn1 rain
                                                  with npFainAi
                                                       mpForrn€by
                                                                byzftiLegir
                                                                   2ipLogin18070
                                                                            18070Fifteen
                                                                                  FifteenWe
                                                                                         MileRoad.  Fraser.%IAN.
                                                                                              Road,Ftn$Lif        1.602*
                                                                                                            Michigan 48026 acre      oalx corn                     Finneran - Lease




                                                                                                                                                                                                       EXHIBIT A - 15/27
Case 23-03508-CL13                                      Filed 11/14/23                           Entered 11/14/23 11:39:51                                               Doc 8-3                    Pg. 20 of
                                                                                                   45




 Premises:
 Premise& 645 Front
              Front Street 6707,
                           1707,San
                                 SanDiego, CA92101
                                    Diego,CA  92f01                                                                                                        Date
                                                                                                                                                           Date:              20
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 38 NOTICE:
 36 NOTICE: Notices may be served al
                                  at the followin
                                          followingr address,
                                                     ascliress, or
                                                                or at
                                                                   at any
                                                                      any other
                                                                          other location subsequently designated:
    Landlord:    #2_41 s_slefleA      ro it •      A
                                                                                        Tenant: („            • Fi2c -      ca 4-5 Fes/VV. 5—i
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 37. TENANT ESTOPPEL CERTIFICATE: Tenant shall execute and                        and return a tenant
                                                                                                    tenant estoppel
                                                                                                            estoppel certificate
                                                                                                                        certificate delivered
                                                                                                                                        delivered to
                                                                                                                                                   to Tenant
                                                                                                                                                      Tenant by by Landlord
                                                                                                                                                                   Landlord nr
                                                                                                                                                                             or Landlord's
                                                                                                                                                                                 Landlords agent
     within 3 days after its receipt. Failure to comply with this requirement shall be deemed Tenant's acknowledgment that the tenant estoppel certificate
     is true and correct, and may be relied upon by a lender or purchaser.
 38. REPRESENTATION
     A. TENANT REPRESENTATION; OBLIGATIONS REGARDING OCCUPANTS; CREDIT: Tenant warrants that all statements in Tenant's                                                           Tenant's rental
     application are accurate. Landlord requires all occupants 18 years of age or older and all emancipated minors to complete a lease rental application.
     Tenant acknowledges this requirement and agrees to notify Landlord when any occupant of the Premises reaches the age of 18 or becomes an
     emancipated minor. Tenant authorizes Landlord and Broker(s) to obtain Tenant's credit report periodically during the tenancy in connection with the
                          enforcement of
     modification or enforcement           of this
                                              this Agreement.
                                                    Agreement. Landlord
                                                                    Landlord maymaycancel
                                                                                       cancelthis thisAgreement:          before occupancy begins; (ii)
                                                                                                       Agreement (I) before                                 (ii) upon disapproval of the credit
     report(s); or (III)
                     (iii) at
                           at any
                               any time,
                                     time, upon
                                           upon discovering
                                                   discovering that information in Tenant's application is false. A negative            negative credit
                                                                                                                                                  credit report
                                                                                                                                                         report reflecting
                                                                                                                                                                  reflecting on
                                                                                                                                                                             on Tenant's
                                                                                                                                                                                 Tenants record
     may be submitted to a credit reportingreporting agency
                                                       agency ifif Tenant
                                                                    Tenant fails
                                                                              fails to
                                                                                     to fulfill
                                                                                         Wit thetheterms
                                                                                                    termsofofpayment
                                                                                                               payment and  and other
                                                                                                                                   other obligations
                                                                                                                                           obligations under
                                                                                                                                                        under this
                                                                                                                                                                this Agreement.
     B. LANDLORD REPRESENTATIONS: Landlord warrants that, unless otherwise specified in writing, Landlord is unaware of (i) any recorded
     Notices of Default affecting the Premise:   Premise; (ii)
                                                             (ft) any
                                                                   any delinquent
                                                                         delinquent amounts
                                                                                         amounts due  due under
                                                                                                           under any loan secured by the Premises; and (iii) any bankruptcy
     proceeding affecting the Premises.
 39. MEDIATION:
     A. Consistent with paragraphs B and C below, Landlord            Landlord and  and Tenant
                                                                                           Tenant agree
                                                                                                      agree toto mediate
                                                                                                                 mediate any  any dispute
                                                                                                                                       dispute or
                                                                                                                                                or claim
                                                                                                                                                    claim arising    between them
                                                                                                                                                           arising between     them out
                                                                                                                                                                                      out of this
           Agreement, or any resulting transaction, before resorting to court action: Mediation fees, if any, shall be divided equally among the parties
                           Forany
           involved. If, for     anydispute
                                       disputeor orclaim
                                                    claimtotowhich
                                                               whichthisthis paragraph
                                                                             paragraph applies,applies, any
                                                                                                         any party
                                                                                                               party commences
                                                                                                                     commences an         an action
                                                                                                                                              action without
                                                                                                                                                      without first attempting to resolve the
           rnatter through mediation, or refuses to mediate after a request has been made.
           matter                                                                                            made, than
                                                                                                                      then that
                                                                                                                              that party shall not be entitled to recover attorney fees.      fees,
           even if they would otherwise be available to that party in any such action.
     B. The following matters are excluded from mediation: (I) an unlawful detainer                detainer action;
                                                                                                              action; (ii)
                                                                                                                       (ii) the
                                                                                                                            the filing
                                                                                                                                   filing or
                                                                                                                                          or enforcement
                                                                                                                                             enforcement of of aa mechanic's
                                                                                                                                                                  mechanic's lien;
                                                                                                                                                                               lien; and
                                                                                                                                                                                     and (III)
                                                                                                                                                                                          (iii) any
           matter within the jurisdiction of a probate, small claims or bankruptcy       bankruptcy court.
                                                                                                        court. The     filing of a court action to enable the recording of a notice of
                                                                                                                The Ming                                                                         of
           pending action, for order of attachment,
                                                attachment. receivership,
                                                                receivership, injunction,
                                                                                   injunction. or  or other
                                                                                                      other provisional
                                                                                                             provisional remedies, shall not constitute a waiver of the mediation
           provision.
     C. Landlord and Tenant agree to mediate disputes or claims involving Listing Agent,                        Agent, Leasing
                                                                                                                            Leasing Agent Agent or
                                                                                                                                                 or property
                                                                                                                                                     property manager
                                                                                                                                                                 manager ('Broker"),
                                                                                                                                                                           ("Broker), provided
           Broker shall have agreed to such mediation prior to,             to. or within a reasonable time after, the dispute or claim             claim is presented to such Broker. Any
           election by Broker to participate in mediation shall not result in Broker being deemed a party to this                        Ibis Agreement.
 40. ATTORNEY FEES:  FEES: In   In any
                                    any action
                                         action or
                                                 or proceeding
                                                     proceeding arising
                                                                    arising out
                                                                             out of
                                                                                  of this
                                                                                      this Agreement,
                                                                                             Agreement, the the prevailing
                                                                                                                 prevailing party between Landlord and Tenant shall be entitled to
     reasonable attorney fees and      and costs,
                                            costs collectively
                                                    collectively not
                                                                   not to exceed $1,000 (or $                                  ),), except
                                                                                                                                    except as   provided in paragraph 39k
                                                                                                                                             as provided                   39A.
 41. C.A.R. FORM: C.A.R. C.A.R. Form means the specific form referenced or another comparable form agreed to by the parties.
 42. OTHER
     OTHER TERMS TERMS AND  AND CONDITIONS; SUPPLEMENTS: E                        interpreter/TranslatorAcfteement
                                                                              ❑ Interpreter/Translator          Agreement(C.AR_Form(CAR FormilA.t._
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                           - f a ft Addendum                 • i II LIOl
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         The
         The following
             following ATTACHED
                       ATTACHED supplements
                                supplements areare
                                                incorporated in thisin
                                                   incorporated        this Agreement: A/CVOs) DUP\ A Pt CV et I th4A-
                                                                     Agreement:


 43. TIME
     TIME OF     ESSENCE: ENTIRE CONTRACT; CHANGES: Time is of the essence. All understandings between the parties are incorporated
             OF ESSENCE;                                                                                                                                    incorporated inin this
     Agreement.
     Agreement Its  Its terms are intended by the parties as a final, complete
                                                                          complete and
                                                                                     and exclusive
                                                                                           exclusive expression
                                                                                                       expression ofof their
                                                                                                                        their Agreement
                                                                                                                              Agreement with
                                                                                                                                           will respect
                                                                                                                                                respect to to its
                                                                                                                                                              its subject matter,
     and may not be contradicted by evidence of any prior agreement or contemporaneous oral agreement. If any provision of this Agreement is held to
     be ineffective or invalid, the remaining provisions       will nevertheless be given full
                                                   provisions wilt                           full force and effect. Neither this Agreement nor any provision in it may
     he
     be extended, amended, modified, altered or changed except in writing. This Agreement is subject to                        in California landlord-tenant law and shall
     incorporate all changes required by amendment or successors to such law. This Agreement and any supplement, addendum or modification,
                      copy. may be signed in two or more counterparts, all of which shall constitute one and the same writing.
     including any copy,
 44. AGENCY:
     A. CONFIRMATION: The following agency relationship(s) are hereby confirmed for this transaction:
         Listing Agent: (Print firm name)
          is the agent
                  agent of
                         of (check   one):E
                            (check one):  E the Landlord exclusively; or J   E both
                                                                                both the
                                                                                      the Landlord
                                                                                          Landlord andand Tenant.
                                                                                                          Tenant
         Leasing Agent: (Print firm name)
          (if not same as Listing Agent)
                                      Agent) is
                                              is the
                                                 the agent
                                                     agent or
                                                           of (check
                                                              (check one):    ]jthe
                                                                       one): I,  the Tenant
                                                                                      Tenantexclusively;
                                                                                              exclusively;or orLithe
                                                                                                                I the Landlord
                                                                                                                         Landlordexclusively;
                                                                                                                                    exclusively, oror ❑ both the Tenant and
         Landlord.
     B. DISCLOSURE:
          DISCLOSURE:n(If       (Ifchecked).
                                    checked):. The term of this lease
                                                                  lease exceeds
                                                                         exceeds one
                                                                                   one year.
                                                                                         year. AA disclosure
                                                                                                   disclosureregarding
                                                                                                              regardingreal realestate
                                                                                                                                  estateagency
                                                                                                                                         agencyrelationships
                                                                                                                                                    relationships(C.A.R.
                                                                                                                                                                    (CAR. Form
          AO) has been provided to Landlord and Tenant, who each acknowledge its receipt.
          AD)
 45. El TENANT COMPENSATION TO BROKER: Upon execution of this Agreement,                Agreement. Tenant agrees to pay compensation to Broker as specified in a
         separate written agreement between Tenant and Broker.
 46. ❑ INTERPFIETERJTRANSLATOR:
 46.11    INTERPRETER/TRANSLATOR: TheThe                terms
                                                            terms
                                                                of this
                                                                     of this
                                                                          Agreement
                                                                             Agreement    have
                                                                                             have  been
                                                                                                     been interpreted
                                                                                                            interpretedfor   forTenant
                                                                                                                                  Tenantinto
                                                                                                                                           intothethefollowing
                                                                                                                                                        following language:
                                                                                                                                                                     language:
                                                                                                                          . Landlord and Tenant acknowledge receipt of
         the attached interpreter/translator
                          interpreteritranslator agreement (CAR. Form ITA).




     Tenant's Initials (     ief Ord<                                                                                  Landlord's Initials (                      ))((


 LR REVISED 12/15 (PAGE 5 OF 6)
                  RESIDENTIAL LEASE OR MONTH-TO-MONTH RENTAL AGREEMENT (LR PAGE 5 OF 6)                                                                                                        1.0115.

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Case 23-03508-CL13                              Filed 11/14/23                        Entered 11/14/23 11:39:51                                       Doc 8-3                     Pg. 21 of
                                                                                        45




  Premises: 645 Front Street #707, San Diego, CA 92101                                                                                        Date:    \         la ZC to
  47. NOTICE OF RIGHT TO RECEIVE FOREIGN LANGUAGE TRANSLATION OF LEASE/RENTAL AGREEMENTS: Cajifomia Civil Code requires a
      landlord or property manager to provide a tenant with a foreign language translation copy of a lease or rental agreement. If the agreement was
      negotiated primarily in Spanish, Chinese, Korean, Tagalc9 or Vietnamese. If applicable, every term of the lease/rental needs to be translated except
      for, among others, names, dollar amounts and dates written as numerals, and words with no generally accepted non-English translation.
  48. OWNER COMPENSATION TO BROKER: Upon execution of this Agreement, Owner agrees to pay compensation to Broker as specified in a
      separate written agreement between Owner and Broker (CAR. Form LL or LCA).
  49. RECEIPT: If specified in paragraph 5, Landlord or Broker, acknowledges receipt of move-in funds.

      Landlord and Tenant acknowledge and agree Brokers: (a) do not guarantee the condition of the Premises; (b) cannot verify representations
      made by others; (c) cannot provide legal or tax advice; (d) will not provide other advice or information that exceeds the knowledge,
      education or experience required to obtain a real estate license. Furthermore, if Brokers are not also acting as Landlord in this Agreement,
      Brokers: (e) do not decide what rental rate a Tenant should pay or Landlord should accept; and (f) do not decide upon the length or other
      terms of tenancy. Landlord and Tenant agree that they will seek legal, tax, insurance and other desired assistance from appropriate
      professionals.

  Tenant agrees to r t                      "st
                                             i!u             above terms and conditions.
  Tenant                                                                                                                                  Date
  Address                                                                           City                                                  State            Zip
  Telephone                                      Fax                                       E-mail
  Tenant                                                                                                                                  Date
  Address                                                                           City                                                  State            Zip
  Telephone                                      Fax                                       E-mail
     ❑    GUARANTEE: In consideration of the execution of this Agreement by and between Landlord. and Tenant and for valuable
          consideration, receipt of which is hereby acknowledged, the undersigned ("Guarantor') does 1-ireby: (I) guarantee
          unconditionally to Landlord and Landlord's agents, successors and assigns, the prompt payment of Rent or other sums that
          become due pursuant to this Agreement, including any and all court costs and attorney fees included in enforcing the Agreement;
          (II) consent to any changes, modifications or alterations of any term in this Agreement agreed to by Landlord and Tenant; and (iii)
          waive any right to require Landlord, and/or Landlord's agents to proceed against Tenant for 'any default occurring under this
          Agreement before seeking to enforce this Guarantee.
          Guarantor (Print Name)
          Guarantor                                                                                                                       Date
          Address                                                                               City                                      State            Zip
          Telephone                                    Fax                                   E-mail
  Landlord ag           to    nt the Premises on the above term and conditions. •
  Landlord
                                 C   Cid\;_Ns—N_               Date          4) i(o Landlord                                                            Date

  Address    .9..;$ S. S‘eg-RA SoANP., Be&*                                                                     CA 1.2_c)-15
  Telephone                                      Fax                                       E-mail

 REAL ESTATE BROKERS:
 A. Real estate brokers who are not also Landlord under this Agreement are not parties to the Agreement between Landlord and Tenant.
 B. Agency relationships are confirmed in paragraph 44.
 C. COOPERATING BROKER COMPENSATION: Listing Broker agrees to pay Cooperating Broker (Leasing Firm) and Cooperating Broker agrees to
    accept: (i) the amount specified in the MLS, provided Cooperating Broker is a Participant of the MLS in which the Property is offered for sale or
    lease or a reciprocal MLS; or (ii) [(if checked) the amount specified in a separate written agreement between Listing Broker and Cooperating
    Broker.

 Real Estate Broker (Listing Firm)                                                                                                CaIBRE Lic. #
 By (Agent)                                                                                                           CaIBRE Lic. #             Date
 Address                                                                           City                                              State      Zip
 Telephone                                      Fax                                        E-mail
 Real Estate Broker (Leasing Firm)                                                                                                CaIBRE Lic. #
 By (Agent)                                                                                                           CaIBRE Lic. #             Date
 Address                                                                           City                                              State      Zip
 Telephone                                      Fax                                        E-mail
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          525 South Virgil Avenue, Los Angeles, California 90020                            Reviewed by           Date
 LR REVISED 12115 (PAGE 6 OF 6)                                                                                                                                             EQUAL MIMI.
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                  RESIDENTIAL LEASE OR MONTH-TO-MONTH RENTAL AGREEMENT (LR PAGE 6 OF 6)
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                EXHIBIT “2”
                                                                              EXHIBIT A - 20/27
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                                                45




         3 DAY NOTICE TO PERFORM COVENANT (CURE) OR QUIT

                             (CODE CIV. PROC., § 1161(3)(4))




March 1, 2023




Kennan Kaeder
645 Front Street, Unit 707
San Diego, CA 92101


TO TENANT(S) AND ALL OTHERS IN POSSESSION OF THE PREMISES LOCATED
AT:

645 Front Street, Unit 707, San Diego, California 92101 (the "Premises")

PLEASE TAKE NOTICE that you have breached/violated the following terms in your Lease
and/or rental agreement dated March 1, 2022 for the above said Premises:

Lease Section 11: Tenant has have failed to maintain all mechanical and plumbing fixtures
including, but not limited to, the HVAC system which has been damaged as a result of Tenant
smoking and smoke discharge upon the Premises, failed to timely notify the Landlord of the HVAC
damage and plumbing leaks at the Premises, and continual use of the washing machine that was
leaking water from the wall outlet resulting in extensive damage to the hardwood floors;

Lease Section 13: Tenant has been maintaining a dog at the Premises in violation of Section 13;

Lease Section 14: Tenant has repeatedly kept smoking and discharging other smoke in the Premises,
possibly sage, in violation of Section 14. Further, Tenant has continued to smoke and discharge
other smoke after repeatedly been given notice to cease doing so;

Lease Section 16: Tenant, after multiple notifications to cease, continues to discharge from the
Premises an air pollutant resembling the smell of cigarette smoke according to several neighbor
complaints and building maintenance. Regardless of the source of the smoke (cigarette, sage,
incense, etc.), based on the many complaints from neighbors, this has become a nuisance and
violates the HOA rule 6.7 "No air pollutants or contaminants sufficient to create a nuisance should
be discharged at any time." Subsequently, this violation of the HOA rules violates the lease
agreement in Section 16 where Tenant must comply with HOA rules and regulations.


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In addition to the above specific Lease breaches/violations, Tenant has also maintained and/or
committed a Nuisance upon the Premises by smoking and the discharge of other smoke. (Code
Civ. Proc., §1161, subd. (4).)

PLEASE TAKE FURTHER NOTICE that within THREE (3) days after service of this Notice,
you are hereby required to cure the breach of the Lease agreement OR quit the subject Premises,
move out, and deliver up possession of the same to Jeffrey S Cameron. Failure to cure the breach
of the lease agreement OR vacate the premises WITHIN THREE (3) days as required by this
Notice will result in forfeiture of the lease and/or Lease agreement and will institute legal
proceedings for an unlawful detainer against you to recover rent, damages, and possession of said
Premises.

THIS IS INTENDED AS A THREE (3) DAY LEGAL NOTICE FOR THE PURPOSE OF
TERMINATING YOUR TENANCY. THIS TERMINATION OF TENANCY IS IN
ACCORDANCE WITH CALIFORNIA CODE OF CIVIL PROCEDURE § 1161(3)(4).

LANDLORD RESERVES ALL THE RIGHTS AND REMEDIES PROVIDED UNDER THE
RENTAL AGREEMENT AND UNDER APPLICABLE LAWS OF THE STATE OF
CALIFORNIA INCLUDING BUT NOT LIMITED TO DAMAGES FOR UNPAID RENT OR
PROPERTY AND NOTHING IN THIS NOTICE MAY BE CONSTRUED AS A WAIVER OF
SUCH RIGHTS AND REMEDIES.




DATED:                           /.? 0 3   0
SIGNED:          „At&
          KEN . SHA P, ESQ.
          BRIEN J. O'MEARA, ESQ.
          La Jolla Law Group
          9404 Genesee Ave., Ste. 300
          La Jolla, CA 92037
          Phone No.: (858) 202-321
          Email: kent@lajollalawgroup.com
          Email: brien@lajollalawgroup.com
          Attorneys for Jeffrey Cameron




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                                                45




                          THREE DAY NOTICE TO QUIT
                 (Maintaining a Nuisance — Code Civ. Proc., § 1161(4))




March 10, 2023




Kennan Kaeder
645 Front Street, Unit 707
San Diego, CA 92101


TO: KENNAN E. KAEDER

PLEASE TAKE NOTICE that you are hereby requested to quit, and deliver up to Jeffrey Cameron,
the possession of the premises located at 645 Front Street, Unit 707, San Diego, California 92101
(the "Premises") now held and occupied by you, at the expiration of three days, commencing on
Friday, March 10, 2023, and ending on Tuesday, March 14, 2023, or three days (excluding
Saturday, Sundays, and other judicial holidays) after service of this Notice upon you, whichever
date is later.


The reason for terminating your tenancy is as follows: You have repeatedly smoked and released
noxious and offensive air pollutants and/or contaminates within the said Premises despite multiple
notifications to cease doing the same. Additionally, the said smoke and pollutants/contaminates,
including but not limited to what is believed to be cigarette/sage/incense, have entered into the
common areas of the complex. You are committing or permitting to exist a Nuisance in the rental
unit and to the common areas of the complex containing the rental unit, and are creating an
unreasonable interference with the comfort, safety, or enjoyment of other residents of the same
building based on the many complaints from neighbors. Further, you have failed to maintain all
mechanical and plumbing fixtures including, but not limited to, the HVAC system which has been
damaged as a result of your smoking and smoke discharge upon the Premises, failed to timely notify
the Landlord of the HVAC damage and plumbing leaks at the Premises, and you continually used
the washing machine that was leaking water from the wall outlet resulting in extensive damage to
the hardwood floors. In addition, you have been maintaining a dog at the Premises.


                                              Page 1
                                                                                            EXHIBIT A - 23/27
Case 23-03508-CL13         Filed 11/14/23     Entered 11/14/23 11:39:51        Doc 8-3     Pg. 28 of
                                                45



Failure on your part to vacate the Premises within the designated time period could result in legal
action being taken against you wherein possession of the subject Premises will be sought, and
wherein damages for such things as reasonable value for holdover, court costs, attorneys' fees, etc.
may also be sought.


THIS NOTICE IS INTENDED AS A THREE (3) DAY LEGAL NOTICE FOR
THE PURPOSE OF TERMINATING YOUR TENANCY. THIS TERMINATION
OF TENANCY IS IN ACCORDANCE WITH CALIFORNIA CODE OF CIVIL
PROCEDURE SECTION 1 1 6 1 (4)


DATED: --"Y       /7(2/2 3


SIGNED:.
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                     SI- 1' , ,ESQ.
                               ESQ.
           ERIC S. CANFIELD, ESQ.
           La Jolla Law Group
           9404 Genesee Ave., Ste. 300
           La Jolla, CA 92037
           Phone No.: (858) 202-321
           Email: kent@lajollalawgroup.com
           Email: eric@lajollalawgroup.com
           Attorney for Jeffrey Cameron




                                              Page 2
                                                                                              EXHIBIT A - 24/27
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                EXHIBIT “3”
                                                                              EXHIBIT A - 25/27
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                    Case 23-03508-CL13                                   Filed 11/14/23     Entered 11/14/23 11:39:51               Doc 8-3     Pg. 31 of
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and Address):
                                                                                              45          TELEPHONE NO.:                   FOR COURT USE ONLY

    Kent Sharp, 179468                                                                                (858) 202-1321
    La Jolla Law Group
    9404 Genesee Avenue, Suite 300
    La Jolla, CA 92037                                                                         Ref. No. or File No.

 ATTORNEY FOR (Name):            Petitioner
 Insert name of court, judicial district or branch court, if any:

    Jeffrey Cameron




 PLAINTIFF:


Jeffrey Cameron
 DEFENDANT:


Kennan E. Kaeder
                                                                     DATE:                                   TIME:      DEPT/DIV:     CASE NUMBER:

      PROOF OF SERVICE                                                                                                                               None

1.At the time of service I was a citizen of the United States, over 18 years of age and not a party to this action, and I served copies of:
      Three Day Notice to Quit




2. Party Served:                                                    Kennan E. Kaeder



3. Date of Posting:                                                 03/14/2023
4. Time of Posting:                                                 5:42PM
5. Date of Mailing:                                                 03/24/2023

6. Place of Mailing:                                            Petaluma By Melissa Berry

7. Address, City and State:                                         645 Front St, 707
                                                                    San Diego, CA 92101


3. Manner of Service:                                           By posting in a conspicuous place on the propery therein described, there being no person of
                                                                suitable age or discretion to be found at any known place of residence or business of said
                                                                tenants; and mailing a copy by first class mail, postage pre-paid, and depositing said copies in
                                                                the United States Mail, in a sealed envelope, addressed as stated above. [CCP 1162 (a)(3)
                                                                and CCP 1162(b)(3) ]


Fee for Service: 140.5
                                                                                          I declare under penalty of perjury under the laws of the United States of
Registered California process server.
                                                                                          America and the State of California that the foregoing is true and
County:
                                                                                          correct and that this declaration was executed on 03/24/2023 at
Registration No.:
                                                                                          Petaluma, California.
Juan M Perez Guzman
One Lem! - P-000618-Sonoma
1400 North McDowell Blvd. Ste 300                                                 Signature:
                                                                                                                                                     EXHIBIT A - 27/27
Petaluma, CA 94954
415-491-0606
                                                                                                                      Juan M Perez Guzman
                                                                                                                              OL# 19991488
Case 23-03508-CL13   Filed 11/14/23   Entered 11/14/23 11:39:51   Doc 8-3   Pg. 32 of
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               EXHIBIT “B”
                                 Case 23-03508-CL13           Filed 11/14/23   Entered 11/14/23 11:39:51        Doc 8-3    Pg. 33 of
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                                  8                           SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                  9                        FOR THE COUNTY OF SAN DIEGO – CENTRAL DIVISION

                                 10   JEFFREY S. CAMERON,                                     CASE NO. 37-2023-00015554-CL-UD-CTL

                                 11                     Plaintiff,                            [PROPOSED] JUDGMENT AFTER TRIAL
9404 Genesee Avenue, Suite 300




                                 12          v.
                                                                                              Trial Dates: September 13-14, 2023
      La Jolla Law Group

      La Jolla, CA 92037




                                 13   KENNAN E. KAEDER;                                       Time: 9:00 a.m.
       T: 858.202.1321




                                      and DOES 1-10, inclusive,                               Dept.: 1604
                                 14                                                           Judge: Hon. Michael D. Washington
                                                        Defendants.
                                 15                                                           Complaint Filed: April 14, 2023

                                 16

                                 17               This cause came on regularly for Trial on September 13 and 14, 2023, in Department 1604

                                 18   of the above-entitled court, Honorable Michael D. Washington presiding, sitting without a jury.

                                 19               Plaintiff JEFFREY S. CAMERON (“PLAINTIFF”) appeared by Kent L. Sharp, Esq.,

                                 20   counsel. Defendant KENNAN E. KAEDER (“DEFENDANT”) appeared on behalf of himself in

                                 21   pro per. There were no other appearances.

                                 22               Oral and documentary evidence was presented by all parties. Witnesses on the part of

                                 23   PLAINTIFF were sworn and examined. After hearing the arguments of all parties, both written

                                 24   and oral, as well as the evidence presented, the case was submitted for decision.

                                 25   ////

                                 26   ////

                                 27   ////

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                                                                            [Proposed] Judgment After Trial                     EXHIBIT B - 1/3
                                 Case 23-03508-CL13    Filed 11/14/23     Entered 11/14/23 11:39:51        Doc 8-3    Pg. 34 of
                                                                            45


                                  1         NOW, THEREFORE, IT IS ADJUDGED, ORDERED, AND DECREED THAT:

                                  2   1.    The Court finds in favor of PLAINTIFF JEFFREY S. CAMERON and against

                                  3         DEFENDANT KENNAN E. KAEDER on the Unlawful Detainer Complaint;

                                  4   2.    PLAINTIFF JEFFREY S. CAMERON is entitled to immediate possession of the subject

                                  5         premises located at 645 Front Street, Unit 707, San Diego, California 92101;

                                  6   3.    The Residential Lease Agreement, and Lease Renewal Agreement thereto, is forfeited by

                                  7         DEFENDANT KENNAN E. KAEDER; and

                                  8   4.    PLAINTIFF is the prevailing party and is entitled to recover attorneys’ fees and costs of

                                  9         suit as the Court deems appropriate.

                                 10

                                 11
9404 Genesee Avenue, Suite 300




                                 12   DATED: ___________________                     _______________________________
                                                                                       JUDGE OF THE SUPERIOR COURT
      La Jolla Law Group

      La Jolla, CA 92037




                                 13
       T: 858.202.1321




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                                                                       [Proposed] Judgment After Trial                     EXHIBIT B - 2/3
                                 Case 23-03508-CL13      Filed 11/14/23     Entered 11/14/23 11:39:51          Doc 8-3    Pg. 35 of
                                                                              45


                                  1                                     PROOF OF SERVICE
                                                               Jeffrey S. Cameron v. Kennan E. Kaeder
                                  2       San Diego County Superior Court (Central) Case No. 37-2023-00015554-CL-UD-CTL

                                  3          I, STACIE L. RAMMELSBERG, declare:

                                  4           I am a resident of the State of California and over the age of eighteen (18) years, and not a
                                      party to the within action; my business address is La Jolla Law Group, 9404 Genesee Avenue,
                                  5   Suite 300, La Jolla, California 92037. On September 15, 2023, I served the within document(s)
                                      described as:
                                  6

                                  7
                                                                [PROPOSED] JUDGMENT AFTER TRIAL
                                  8

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                                 10
                                       x By transmitting via E-SERVICE the document(s) listed above to the email address(es)
                                         set forth below on this date before 5:00 p.m. Said document(s) are being served ONLY
                                 11      BY ELECTRONIC TRANSMISSION PURSUANT TO AGREEMENT BY
                                         COUNSEL by e-mailing from e-mail address stacie@lajollalawgroup.com the
9404 Genesee Avenue, Suite 300




                                 12      document(s) to the person(s) at the email address(es) listed. No electronic message or
                                         other indication that the transmission was unsuccessful was received within a reasonable
      La Jolla Law Group

      La Jolla, CA 92037




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       T: 858.202.1321




                                         time after the transmission.
                                 14
                                      Kennan E. Kaeder                                     Kennan E. Kaeder
                                 15                                                        645 Front St., Unit 707
                                      Attorney at Law
                                      501 West Broadway, Ste. 800                          San Diego, CA 92101
                                 16
                                      San Diego, CA 92101
                                 17   Email: kkaeder@kaederlawoffices.com
                                      Email: kkaeder@cox.net
                                 18   Defendant In Pro Per
                                 19
                                             I am readily familiar with the firm’s practice of collection and processing correspondence
                                 20   for mailing. Under that practice it would be deposited with the U.S. Postal Service on that same
                                      day with postage thereon fully prepaid in the ordinary course of business. I am aware that on
                                 21   motion of the party served, service is presumed invalid if postal cancellation date or postage
                                      meter date is more than one day after the deposit for mailing in affidavit.
                                 22
                                             I declare under penalty of perjury under the laws of the State of California that the
                                 23   foregoing is true and correct.

                                 24          Executed on September 15, 2023, at La Jolla, California.

                                 25

                                 26                                                           _____________________________
                                                                                              STACIE L. RAMMELSBERG
                                 27

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                                                                                Proof of Service                               EXHIBIT B - 3/3
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               EXHIBIT “C”
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                                                                      By: M. Acosta, Deputy




                                        Superior Court of California
                                                County of San Diego

                                                        : Case No. 37-2023-00015554-CL-UD-CTL
 JEFFREY S. CAMERON,
                                                        : PROPOSED STATEMENT OF
      PLAINTIFF                                         : DECISION AND PROPOSED
                                                        : JUDGMENT AFTER COURT TRIAL
 vs
 KENNAN E. KAEDER, et al.,
      DEFENDANTS




 In this document, the Court announces its proposed statement of decision and proposed
 judgment. After a Court trial, the Court announced its tentative decision. After the
 tentative decision, Defendant timely requested that this Court prepare a Statement of
 Decision as provided by California Rules of Court, Rule 3.1590(d ). Either party may,
 within 15 days of service of the proposed statement of decision judgment, file and serve
 objections. The statement of decision and judgment confirms the tentative decision of the
  Court made September 14, 2023.




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                 PROPOSED STATEMENT OF DECISION AND JUDGMENT
                                    1 of 8
  CAMERON v KAEDER 37-2023-00015554-CL-UD-CTL
                                                                                                       EXHIBIT C - 1/9
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 Relevant Procedural History:
 Jeffrey Cameron, Plaintiff filed this at-fault just cause Unlawful Detainer action against
 his tenant, Kennan Kaeder, Defendant seeking termination of the lease and repossession
 of the rental property pursuant to Civil Code sec. 1946.2(b)(1) on April 14, 2023. Plain
 alleged that Defendant was in breach of the lease agreement for 1) violating Section 11 o
 the lease agreement, failure to notify and report to the Landlord any problem related to
 the mechanical, electrical or plumbing fixtures of the premises, 2) violating Section 13 of
 the lease agreement, by maintaining a dog on premises without the Landlord's prior
 consent, 3) violating Section 14 of the lease agreement, by smoking or discharging other
 airborne particulate matter into the common areas of the homeowners association and 4)
 violating Section 16 of the lease agreement, by violating the homeowners association
 covenants, conditions and restrictions and/or bylaws, and 5) creating a nuisance upon the
 premises by smoking and discharging other smoke. Defendant filed a Demurrer on May
 17, 2023, stating that Plaintiff failed a state a cause of action upon which relief could be
 granted. Defendant's Demurrer was heard and denied by Commissioner Meyerowitz on
 July 7, 2023. Defendant filed his Answer on July 17, 2023, denying all allegations and
 asserting the affirmative defenses that 1) Plaintiff waived or canceled the notice to quit,
 2) Plaintiff served the notice to quit in retaliation against the Defendant, 3) Plaintiff was
 arbitrarily discriminating against Defendant in violation of the United States or California
 constitutions, 4) Plaintiffs demand for possession violated the Tenant Protection Act of
 2019 by a) failing to state a just cause for termination in the written notice to terminate,
 b) failure to provide an opportunity to cure any alleged violations of the terms or
 conditions of the lease c) failing to comply with relocation assistance requirements, d)
 violated the Tenant Protection Act in some other way that defeats the complaint, 5)
 Plaintiff did not serve the general notice of rights under the COVID-19 Tenant Relief


                PROPOSED STATEMENT OF DECISION AND JUDGMENT
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 CAMERON v KAEDER 37-2023-00015554-CL-UD-CTL
                                                                                                 EXHIBIT C - 2/9
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Act, 6) Plaintiff violated the COVID-19 Tenant Relief Act in some other way, and 7)
 Plaintiff committed actionable elder abuse against Defendant.


 On July 24, Plaintiff filed a Request to Set Case for Trial and a Request for Dismissal of
 Does 1 to 10, as listed in the complaint. On August 4, 2023, Commission Meyerowitz
 heard Defendant's motion to continue the trial. She vacated the August 8, 2023 trial date
 and set a new trial date of September 8, 2023, with a Trial Readiness Conference date of
 August 18, 2023. Defendant filed a Motion to Compel Further Answers to
 Interrogatories and a Motion to Compel Production of Documents. On August 30, 2023,
 Judge Shore heard and denied both motions. On September 11, 2023, the parties agreed
 to waive jury and the case was reassigned to Judge Michael Washington in Department
 1604 for trial. On September 12, 2023, Judge Washington met with the parties and ruled
 on the motions in limine. Judge Washington ordered the parties back on September
 13,2023 to begin witness examination. On September 14, 2023, both parties rested their
 cases, argued their cases to the Court, and the Court issued its tentative decision.


 As part of his request for a statement of decision, the Defendant raised the following
 principal controverted issues: 1) whether a lease existed at the time of the notice to quit
 was served, 2) whether the homeowners association rules were vague as to the issue of
 nuisance, 3) whether Plaintiff may prevail in an unlawful detainer action, if there are no
 monetary damages 4) whether Plaintiff is required to call live witnesses, rather than rely
 on written report, under the duty to provide stronger evidence when available, 5) whether
 the acceptance of rent by Plaintiff, constituted waiver of any breach of the lease
 agreement by Defendant, 6) whether Plaintiff consented to Defendant's violation of the
  lease agreement regarding Defendant's duty to complain about issues with the premises,
  and 7) whether a lawful act can constitute a nuisance.




                 PROPOSED STATEMENT OF DECISION AND JUDGMENT
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  CAMERON v KAEDER 37-2023-00015554-CL-UD-CTL
                                                                                               EXHIBIT C - 3/9
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                                                        I.
                    Did a lease exist at the time the notice to quit was served?


 Both parties testified that Plaintiff and Defendant, originally entered into a lease
 agreement, that original lease ran from February 15, 2016, to February 15, 2017. A copy
 of the lease agreement was received in evidence as Exhibit 1. The lease agreement
 contained a provision that at the end of the lease agreement, the lease could be terminated
 by either party, or upon the payment of rent, a month-to-month tenancy would be created
 which either party could terminate. The lease agreement goes on to say that "All other
 terms and conditions of this Agreement shall remain in full force and effect."
 As a result, the Court finds that the parties were still governed by the terms and
 conditions of the lease agreement at the time the notice to (cure or) quit was served on
 Defendant on March 1, 2023.


                                                        II.
         Are the homeowners' association's rules impermissibly vague regarding
                                               the issue of nuisance?


 The Renaissance Owners' Association rules are contained in Exhibit 4. In it, section 6.3
 defines nuisance as a "... Condominium used in such manner as to obstruct or interfere
 with the enjoyment of occupants of other such areas or annoy them by unreasonable nois
 or otherwise ..." It goes on to say that "No one may engage in any illegal, noxious or
 offensive activity ... or do any act which unreasonably threatens the health, safety and
 welfare of other residents of the Community."
 In determining whether the Renaissance Owners' Association's definition of nuisance
 was too vague, the Court is guided by California Code of Civil Procedure section 3479.
 CCP section 3479 defines a nuisance, in part, as an act that is injurious to health, or is
 offensive to the senses. This definition is consistent with the definition of nuisance as


                PROPOSED STATEMENT OF DECISION AND JUDGMENT
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 CAMERON v KAEDER 37-2023-00015554-CL-UD-CTL
                                                                                                EXHIBIT C - 4/9
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 stated in the homeowners' association rules, and as a result, the Court finds that the
 Renaissance Owners' Association's rules regarding nuisance are not impermissibly
 vague. Although the Renaissance rules and CCP section 3479 include illegal activity as a
 basis for a nuisance claim, neither requires that the complained of nuisance also be based
 on illegal activity.


                                                       III.
                     Must Plaintiff establish monetary damages to prevail in
                                        an unlawful detainer action?


 An unlawful detainer action is an action taken when a landlord wants to involuntary end
 tenancy after the tenant has taken possession of the rental property. The appropriate
 statutes that govern unlawful detainers are CCP sections 1159 — 1179. A landlord may
 issue a notice to quit when the tenant has breached a covenant of the lease and it cannot
 be cured, or a notice to cure or quit when the breach can be cured. The notice to cure or
 quit does not require that the breach be based on nonpayment of rent. If, however, the
 landlord gives notice to pay rent or quit, the landlord is required to state the amount of
 rent due, see Delta Imports, Inc. v. Municipal Court (1983) 146 CA3d 1033. In this case,
 the Court finds that the Plaintiff was not seeking payment of rent, but rather correction of
 the breach of the lease agreement (i.e. end the nuisance). As a result, Plaintiff was not
 required to establish monetary damages in order to prevail in his unlawful detainer action.


                                                        IV.
   Whether it is permissible for Plaintiff to rely on written documents when stronger
                                               evidence is available?


 During the presentation of Plaintiff case, the Plaintiff introduced several documents that
 purported to be copies of complaints made by neighbors of the Defendant, of him having


                PROPOSED STATEMENT OF DECISION AND JUDGMENT
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 CAMERON v KAEDER 37-2023-00015554-CL-UD-CTL
                                                                                                EXHIBIT C - 5/9
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 smoke coming from his unit. These complaints were investigated by the Renaissance
 condominiums staff and their reports were signed and dated. The staff members
 themselves did not testify at trial, but the Court received their witness reports under the
 business record exception to the hearsay rule. Defendant does not challenge that ruling,
 but instead challenges whether it was permissible for the Plaintiff to introduce the
 document, in lieu of calling the actual staff members as witnesses.
 Evidence Code section 412 states "If weaker and less satisfactory evidence is offered
 when it was within the power of the party to produce stronger and more satisfactory
 evidence, the evidence offered should be viewed with distrust." The Court notes that EC
 section 412 does not say that it is impermissible to introduce weaker evidence. More
 importantly, courts have held that when each party has equal opportunity to present the
 evidence, the inference of section 412 does not apply (See Provencio v. Merrick, (1970) 5
 Cal. App 3d, 39.) In this case, the Court found that both the Plaintiff and the Defendant
 had an equal opportunity to call the Renaissance condominiums staff, and therefore the
 inference that the complaints filed by those staff members be viewed with distrust is
 inappropriate. The Court fmds that it was permissible for the Plaintiff to rely on the
 written documents alone, even though live witness testimony might be available.


                                                    V.
                         Did Plaintiff waive all breaches by accepting rent?


 While courts have held that the landlord's acceptance of rent after a notice to quit has
 been given in a residential rental setting may operate as a waiver of the breach for
 nonpayment, see EDC Assoc. Ltd. v. Gutierrez, (1984) 153 CA3d, 167, there is no
 parallel caselaw if the notice to cure or quit is based on nuisance. As noted above,
 Plaintiff's notice to cure or quit was not based on Defendant's non-payment of rent.
 Plaintiff based his notice to Defendant on Defendant's conduct that was a breach of the
 lease agreement by creating a nuisance. The Court finds that Plaintiff accepting rent after


                PROPOSED STATEMENT OF DECISION AND JUDGMENT
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 CAMERON v KAEDER 37-2023-00015554-CL-UD-CTL
                                                                                               EXHIBIT C - 6/9
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 the notice to cure or quit did not create a waiver of the complaint that Defendant had
 breached the rental agreement by nuisance.


                                                     VI.


      Did Plaintiff consent to Defendant's failure to complain about the condition
                                               of the premises?
 Plaintiff originally alleged that the Defendant materially breached the lease agreement by
 failing to report to his Landlord the leaks coming from the pipes and hoses in the unit and
 the potential damage to the HVAC from the burning of materials in the unit. The
 Defendant argues that Plaintiff consented to Defendant's failure to complain about the
 condition of the premises. After hearing all the evidence at trial, the Court fmds that the
 breaches that Plaintiff alleged regarding the Defendant's failure to complain to his
 landlord about leaks in the unit or potential repairs or replacement of the HVAC filtration
 system were not material breaches of the lease agreement that would entitle Plaintiff to
 reclaim his rental property. In making its finding, the Court does not reach the issue of
 whether Plaintiff consented to Defendant's lack of complaints regarding needed or
 necessary repairs to the unit.


                                                     VII.


                                  Can a lawful act constitute a nuisance?
 As stated in Section II. above, a nuisance can be based on unlawful activity, but that is
 not required by either the CCP or the Renaissance Owners' Association rules. Under
 both sets of rules, a tenant may create a nuisance by doing something that is lawful, if it
 interferes with the ability of other tenants to enjoy their own property or common areas.
 Here, based on the complaints that were reported to the staff at Renaissance, and the
 testimony of Amanda Francis, the general manager at Renaissance, the Court finds that


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 the smoke and smell coming from Defendant's unit, while a lawful activity, was
 sufficient to create a nuisance and constitute a material breach of the lease agreement.


 Proposed Judgment
 Based on the above findings, the Court orders as follows:
     1) Termination of the Lease Agreement forthwith.
     2) Plaintiff awarded immediate possession of the premises.
     3) Defendant to pay attorney fees in the amount of $1,500.
     4) Defendant to pay court costs in the amount of $75.




 Date: October 17, 2023



                                                Michael D.    i ington
                                                JUDGE 0 • HE SUPERIOR COURT




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  SUPERIOR COURT OF CALIFORNIA, COUNT
 Central
 1100 Union St.
 San Diego, CA 92101


SHORT TITLE: CAMEO:,                     NAGEL)]

                                                                                           CASE NUMBER:
         CLERK'S CERTIFICATE OF SERVICE BY MAIL                                      37-2023-00015554-CL-UD-CTL


   I certify that I am not a party to this cause. I certify that a true copy of the Proposed statement of decision and
   judgment was mailed following standard court practices in a sealed envelope with postage fully prepaid,
   addressed as indicated below. The mailing and this certification occurred at San Diego, California, on
   10/17/202a.




                                        Clerk of the Court, by:
                                                                           ,i-costo
                                                                         M. Acosta
                                                                                                                 . Deputy

   KENT L SHARP                                                   KENNAN E KAEDER
   9404 GENESEE AVENUE # 300                                      501 W BROADWAY # 800
   LA JOLLA, CA 92037                                             SAN DIEGO, CA 92101



   KENNAN E KAEDER
   ATTORNEY AT LAW
   501 W BROADWAY STREET # 800
   SAN DIEO, CA 92101




I—I Additional names and address attached.
                                                                                                                         Page: 1
                                    CLERK'S CERTIFICATE OF SERVICE BY MAIL

                                                                                                                EXHIBIT C - 9/9
